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     7
                               UNITED STATES DISTRICT COURT
     8
                             SOUTHERN DISTRICT OF CALIFORNIA
     9

    10
         IN RE SONY VAIO COMPUTER                           Case No. 3:09-CV-02109-BAS-MDD
    11   NOTEBOOK TRACKPAD LITIGATION                        CLASS ACTION
    12
                                                            DECLARATION OF DEBORAH
    13                                                      MCCOMB RE: NOTICE
                                                            PROCEDURES
    14

    15
                                                         Judge: Hon. Cynthia A. Bashant
    16                                                   Court: 4B, 4th Floor (Schwartz)
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                          DECLARATION OF DEBORAH MCCOMB RE: NOTICE PROCEDURES
Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15978 Page 2 of 34



     1
         I, Deborah McComb declare as follows:
     2
                1.       I am employed as a Senior Project Manager by KCC Class Action Services, LLC
     3
         (“KCC”), located at 3301 Kerner Blvd., San Rafael, California. KCC was appointed as the
     4
         Claims Administrator in this matter and is not a party to this action. I have personal knowledge
     5
         of the facts set forth herein and, if called as a witness, could and would testify competently
     6
         thereto.
     7

     8
         Mailed & E-Mailed Notice
     9
                2.       KCC utilized the class data from the certification phase of this case as the Class
    10
         Member List, and prepared a data file for the initial mailing. Prior to mailing, KCC caused the
    11
         addresses in the Class Member List to be updated using the National Change of Address database
    12
         (“NCOA”) maintained by the U.S. Postal Service. A total of 9,287 addresses were found and
    13
         updated.
    14
                3.       Pursuant to the preliminary approval order and settlement agreement in this case,
    15
         on March 6, 2017 KCC caused the U.S. Mail Notice (“Notice”) to be printed and mailed to the
    16
         11,258 names and mailing addresses in the Class List. A sample of the Notice is attached hereto
    17
         as Exhibit A.
    18
                4.       Pursuant to the preliminary approval order and settlement agreement in this case,
    19
         on March 6, 2017, KCC E-mailed the Email Notice to 133,792 on the Class Member List with
    20
         email addresses. A sample of the Email Notice is attached hereto as Exhibit B.
    21
                5.       On March 14, 2017, KCC has received a total of 17,543 bounce backs from the E-
    22
         mail campaign. Pursuant to the preliminary approval order and settlement agreement in this case,
    23
         notices were then mailed to 14,276 persons that had mailing addresses.
    24
                6.       As of the date of this declaration, KCC has received a total of 3 Notices returned
    25
         by the U.S. Postal Service with forwarding addresses. KCC caused the Class Member list to be
    26
         updated with the new addresses and Notices to be re-mailed to the updated addresses. KCC has
    27
         received a total of 3,970 Notices returned by the U.S. Postal Service without forwarding address
    28
                                                           2
                                 DECLARATION OF DEBORAH MCCOMB RE: NOTICE PROCEDURES
Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15979 Page 3 of 34



     1
         information. KCC conducted address searches using credit and other public source databases to
     2
         attempt to locate new addresses for 3,970 of these Class Members. As of the date of this
     3
         declaration, these searches have resulted in 1,645 updated addresses. KCC promptly re-mailed
     4
         Notices to the updated addresses.
     5

     6   Published Notices and Internet Banners.
     7          7.       Pursuant to the preliminary approval order and settlement agreement in this case,
     8   KCC caused the Summary Notice to appear as a full-page ad unit in the California and New
     9   Jersey state editions of the People magazine issue dated March 27, 2017 (on sale March 17,
    10   2017). The Summary Notice appeared on page 81 of the issue amid the People Style section. A
    11   copy of the Summary Notice as published in the magazine is attached as Exhibit C.
    12                   Pursuant to the preliminary approval order and settlement agreement in this case,
    13   KCC also caused the Summary Notice to appear as one-eighth page ad units in the Classifieds
    14   section of the Los Angeles Daily News on March 6 (page A14), March 13 (page A13), March 20
    15   (page A12), and March 27, 2017 (page A13), for a total of four insertions. Copies of the
    16   Summary Notice as published in each edition are attached as Exhibit D.
    17                   In addition, pursuant to the preliminary approval order and settlement agreement
    18   in this case, KCC purchased 1,285,000 internet banner impressions to appear on a variety of
    19   websites from March 6, 2017 through April 2, 2017. Of these impressions, 835,000 English-
    20   language impressions were targeted to Sony laptop owners in California and New Jersey, and
    21   450,000 Spanish-language impressions were targeted on Spanish-language websites to adults 18
    22   years of age and older in California and New Jersey. In total, the English-language banner effort
    23   delivered 904,956 impressions, a bonus of 69,956 more English-language impressions than
    24   purchased at no additional cost; the Spanish-language banner effort delivered 496,759
    25   impressions, a bonus of 46,759 Spanish-language impressions than purchased at no additional
    26   cost. Screenshots of the internet banner notices as they appeared on various websites is attached
    27   as Exhibit E.
    28
                                                          3
                                 DECLARATION OF DEBORAH MCCOMB RE: NOTICE PROCEDURES
Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15980 Page 4 of 34



     1
         Case Website
     2
                8.      On or about March 3, 2017, pursuant to the preliminary approval order and
     3
         settlement agreement in this case, KCC established a website
     4
         www.VAIOTrackpadLitigationSettlement.com dedicated to this matter to provide information to
     5
         the Class Members and to answer frequently asked questions. The website URL was set forth in
     6
         the Notice, E-mail Notice, Claim Form, etc. Visitors of the website can download copies of the
     7
         Full Notice, Claim Form, and other case-related documents, along with submit claims online, and,
     8
         if applicable, upload supporting documentation. As of the date of this declaration, the website
     9
         has received 186,990 visits.
    10

    11
         Toll-Free Telephone Number
    12
                9.      Pursuant to the preliminary approval order and settlement agreement in this case,
    13
         on or about March 3, 2017, KCC established an Interactive Voice Response (“IVR) toll-free
    14
         telephone number dedicated to answering telephone inquiries from Class Members. As of the
    15
         date of this declaration, KCC has received a total of 241 calls.
    16

    17
         Claim Forms
    18
                10.     The postmark deadline for Class Members to file claims in this matter was June 5,
    19
         2017. To date, KCC has received 1,766 timely-filed and valid claim forms. The claims are
    20
         broken into the following claim categories: 33 for category 1 – out-of-pocket expenses due to
    21
         repair, 43 for category 2 – out-of-pocket expenses due peripheral workaround, 1,583 for category
    22
         3 - $25 – for experiencing touchpad issues and 107 for category 4 - $5.
    23

    24
         Request for Exclusion from Class
    25
                11.     The postmark deadline for Class Members to request to be excluded from the class
    26
         was June 5, 2017. As of the date of this declaration, KCC has received 2 timely requests for
    27
         exclusion. A list of the Class Members requesting to be excluded is attached hereto as Exhibit F.
    28
                                                          4
                                DECLARATION OF DEBORAH MCCOMB RE: NOTICE PROCEDURES
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                             EXHIBIT A
09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15983 Page
                                In re Sony VAIO Computer Notebook
    If you are a California     Trackpad Litigation Settlement
                                P.O. Box 43343
    or New Jersey resident      Providence, RI 02940-3343
    and purchased a Sony
     VAIO Laptop series
    SZ, FZ, NW, EB, or F        Proof of Purchase code: «ClaimID»
   between March 16, 2006
     and January 4, 2017        «Barcode»
                                Postal Service: Please do not mark barcode
        in California or
   New Jersey, you may be       Claim#: SIT-«ClaimID»-«MailRec»
                                «First1» «Last1»
   eligible to receive a cash   «CO»
     payment from Sony.         «Addr2»
                                «Addr1»
                                «City», «St» «Zip»
                                «Country»


   SIT
09-cv-02109-BAS-MDD                        Document
   Why did I get this notice? A settlement (“Settlement”)       375-5
                                                          has been proposed inFiled      07/10/17
                                                                               a class action lawsuit pendingPageID.15984                   Page
                                                                                                             in the U.S. District Court for the
      Southern District of California (“Court”) titled In Re Sony VAIO Computer Notebook Trackpad Litigation, Case No. 09-cv-2109 BAS MDD
      (“Action”). According to available records, you might be a “Class Member.” The purpose of this notice is to inform you of the Action and
      the Settlement so that you may decide what steps to take in relation to it.
      What is the Action about? The Action was filed against Sony Electronics Inc. (“Sony”) by plaintiffs Christina Egner and Rickey Glasco
      alleging Sony sold certain series of VAIO Laptops with a defectively designed touchpad (also known as trackpad) component. Sony denies
      wrongdoing and liability and both sides disagree on how much, if anything, the Class could have recovered after trial. No court has decided
      which side is right. But both sides agreed to provide benefits to California and New Jersey purchasers of certain VAIO laptops and to
      resolve the case in order to limit further expense, inconvenience, and uncertainty.
      Am I a Class Member? You are a “Class Member” if you are: (1) a California resident who purchased a Sony VAIO Laptop, series SZ, FZ,
      NW, EB, or F, in California between March 16, 2006 and January 4, 2017; or (2) a New Jersey resident who purchased a Sony VAIO
      Laptop, series SZ, FZ, NW, EB, or F, in New Jersey between March 16, 2006 and January 4, 2017.
      What relief does the Settlement provide? If you are a Class Member, you are eligible to receive a Settlement Payment of a one-time cash
      payment of either (a) 65% of documented out-of-pocket expenses incurred to repair your touchpad up to a cap of $200; (b) 65% of documented
      out-of-pocket expenses incurred to purchase a peripheral workaround because of purported touchpad issues up to a cap of $60; (c) $25 for any
      Class Member who claims to have experienced touchpad issues, but does not have proof of repair or purchase of a peripheral workaround; or
      (d) $5 for a Class Member who does not meet criteria for the preceding (a) through (c). To receive a Settlement Payment, you must timely
      complete and submit a valid Claim Form, which explains the eligibility and any documentation requirements for the different payment
      categories. A Claim Form is available on the Internet at the Settlement website www.VAIOTrackpadLitigationSettlement.com. The
      postmarked deadline to submit a Claim Form is June 5, 2017.
      What are my other options? If you don’t want to be legally bound by the Settlement, you must exclude yourself postmarked by
      June 5, 2017, or you won’t be able to sue Sony about the legal claims in the Action ever again. If you exclude yourself, you cannot receive a
      Settlement Payment from this Settlement. If you stay in the Settlement, you may object to it postmarked by June 5, 2017. The detailed notice
      available at www.VAIOTrackpadLitigationSettlement.com explains how to request exclusion or object. The Court will hold a hearing on
      August 7, 2017 at 10:30 a.m. to consider whether to approve the Settlement, the request by the lawyers representing all Class Members
      (Gomez Trial Attorneys, Zeldes Haeggquist & Eck, LLP, and Doyle Lowther LLP) for $3.2 million in attorneys’ fees and costs, and the
      request by the class representatives (Christina Egner and Rickey Glasco) for $10,000 for plaintiff Christina Egner and $7,500 for plaintiff
      Rickey Glasco for a total of $17,500 for their services. You may ask to appear at the hearing, but you don’t have to.
      More information? For complete information about the Settlement, to view the Settlement Agreement, related Court documents and
      Claim Form, and to learn more about how to exercise your various options under the Settlement, visit
      www.VAIOTrackpadLitigationSettlement.com. You may also write to the Claims Administrator at the email address
      Info@VAIOTrackpadLitigationSettlement.com or the postal address In Re Sony VAIO Computer Notebook Trackpad Litigation Settlement,
      P.O. Box 43343, Providence, RI 02940-3343 or contact the Claims Administrator by toll-free telephone call at 1-877-790-2114.
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                             EXHIBIT B
   Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15986 Page 10 of
                                         34
                                                                              Proof of Purchase Code: «ClaimID»

                If you are a California or New Jersey resident and purchased a
                    Sony VAIO Laptop series SZ, FZ, NW, EB, or F between
               March 16, 2006 and January 4, 2017 in California or New Jersey,
                    you may be eligible to receive a cash payment from Sony.
Why did I get this notice? A settlement (“Settlement”) has been proposed in a class action lawsuit pending in
the U.S. District Court for the Southern District of California (“Court”) titled In Re Sony VAIO Computer
Notebook Trackpad Litigation, Case No. 09-cv-2109 BAS MDD (“Action”). According to available records,
you might be a “Class Member.” The purpose of this notice is to inform you of the Action and the Settlement
so that you may decide what steps to take in relation to it.

What is the Action about? The Action was filed against Sony Electronics Inc. (“Sony”) by plaintiffs Christina
Egner and Rickey Glasco alleging Sony sold certain series of VAIO Laptops with a defectively designed
touchpad (also known as trackpad) component. Sony denies wrongdoing and liability and both sides disagree
on how much, if anything, the Class could have recovered after trial. No court has decided which side is right.
But both sides agreed to provide benefits to California and New Jersey purchasers of certain VAIO laptops
and to resolve the case in order to limit further expense, inconvenience, and uncertainty.

Am I a Class Member? You are a “Class Member” if you are: (1) a California resident who purchased a Sony
VAIO Laptop, series SZ, FZ, NW, EB, or F, in California between March 16, 2006 and January 4, 2017; or
(2) a New Jersey resident who purchased a Sony VAIO Laptop, series SZ, FZ, NW, EB, or F, in New Jersey
between March 16, 2006 and January 4, 2017.

What relief does the Settlement provide? If you are a Class Member, you are eligible to receive a Settlement
Payment of a one-time cash payment of either (a) 65% of documented out-of-pocket expenses incurred to repair
your touchpad up to a cap of $200; (b) 65% of documented out-of-pocket expenses incurred to purchase a
peripheral workaround because of purported touchpad issues up to a cap of $60; (c) $25 for any Class Member
who claims to have experienced touchpad issues, but does not have proof of repair or purchase of a peripheral
workaround; or (d) $5 for a Class Member who does not meet criteria for the preceding (a) through (c). To
receive a Settlement Payment, you must timely complete and submit a valid Claim Form, which explains the
eligibility and any documentation requirements for the different payment categories. A Claim Form is available
on the Internet at the Settlement website www.VAIOTrackpadLitigationSettlement.com. The postmarked
deadline to submit a Claim Form is June 5, 2017.

What are my other options? If you don’t want to be legally bound by the Settlement, you must exclude yourself
postmarked by June 5, 2017, or you won’t be able to sue Sony about the legal claims in the Action ever again.
If you exclude yourself, you cannot receive a Settlement Payment from this Settlement. If you stay in the
Settlement, you may object to it postmarked by June 5, 2017. The detailed notice available at
www.VAIOTrackpadLitigationSettlement.com explains how to request exclusion or object. The Court will hold a
hearing on August 7, 2017 at 10:30 a.m. to consider whether to approve the Settlement, the request by the lawyers
representing all Class Members (Gomez Trial Attorneys, Zeldes Haeggquist & Eck, LLP, and Doyle Lowther
LLP) for $3.2 million in attorneys’ fees and costs, and the request by the class representatives (Christina Egner
and Rickey Glasco) for $10,000 for plaintiff Christina Egner and $7,500.00 for plaintiff Rickey Glasco for a total
of $17,500 for their services. You may ask to appear at the hearing, but you don’t have to.

More information? For complete information about the Settlement, to view the Settlement Agreement, related
Court documents and Claim Form, and to learn more about how to exercise your various options under the
Settlement, visit www.VAIOTrackpadLitigationSettlement.com.             You may also write to the Claims
Administrator at the email address Info@VAIOTrackpadLitigationSettlement.com or the postal address
In Re Sony VAIO Computer Notebook Trackpad Litigation Settlement, P.O. Box 43343, Providence, RI 02940-
3343 or contact the Claims Administrator by toll-free telephone call at 1-877-790-2114.
                                                                                                           SITNTE1
Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15987 Page 11 of
                                      34




                            EXHIBIT C
Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15988 Page 12 of
                                      34
Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15989 Page 13 of
                                      34




                            EXHIBIT D
14   |   A
             CLASSIFIEDS Case
                         |    3:09-cv-02109-BAS-MDD
                                       LOS ANGELES DAILY NEWS >> DAILYNEWS.COM                       Document 375-5 Filed 07/10/17 PageID.15990 Page 14 of
                                                                                                                     34 Legal Notice
                                                                                                                                                                                                                                     MONDAY, MARCH 6, 2017
     Legal Notice             Legal Notice             Legal Notice               Legal Notice          Legal Notice                 Legal Notice Legal Notice Legal Notice                                                                Legal Notice

                                             LEGAL NOTICE TO ALL CONSUMERS
                                                                                                                                     If you are a California or New Jersey resident and purchased a
      If you purchased a Hewlett-Packard LaserJet Pro P1102                                                                          Sony VAIO Laptop series SZ, FZ, NW, EB, or F between March
     printer, then you may be affected by a class action lawsuit.                                                                     16, 2006 and January 4, 2017 in California or New Jersey, you
   You may be affected by a class action lawsuit claiming        false advertising and to refund a portion of the money
                                                                                                                                           may be eligible to receive a cash payment from Sony.
 that Hewlett-Packard Company, now known as HP, Inc.             Class members paid to purchase the printers. There is no                  Si usted más información o desea obtener una copia de este documento legal en Español, visite el sitio
 (“HP”), manufactured, marketed, advertised, and sold            money available now and no guarantee that there will be.                                             www.VAIOTrackpadLitigationSettlement.com.
 printers that advertised “HP Smart Install,” a feature                        WHO REPRESENTS ME?
 designed to allow for the easy software installation of                                                                             A settlement (“Settlement”) has been proposed in a class action lawsuit pending in the U.S. District Court for the
                                                                   The Court has appointed the Law Ofﬁces of Todd                    Southern District of California (“Court”) titled In Re Sony VAIO Computer Notebook Trackpad Litigation, Case
 the printers, when in fact this feature had been disabled       M. Friedman, P.C. to represent you and other Class                  No. 09-cv-2109 (“Action”). The purpose of this notice is to inform potential Class Members of the Action and the
 from these printers. The lawsuit, Anne Wolf v. Hewlett-         members as Class Counsel.You do not have to pay Class               Settlement so that they may decide what steps to take in relation to it.
 Packard Company, Case No. 5:15-cv-01221-BRO-GJS,                Counsel or anyone else to participate. If Class Counsel
 is in the United States District Court for the Central                                                                              What is the Action about? The Action was ﬁled against Sony Electronics Inc. (“Sony”) by plaintiffs Christina
                                                                 obtains money or other beneﬁts for the Class, they may              Egner and Rickey Glasco alleging Sony sold certain series of VAIO Laptops with a defectively designed touchpad
 District of California. The Court decided that this             ask the Court for attorneys’ fees and costs, which would
 lawsuit should be a class action on behalf of a group of                                                                            (also known as trackpad) component. Sony denies wrongdoing and liability and both sides disagree on how much, if
                                                                 be paid out of any money recovered for the Class or be              anything, the Class could have recovered after trial. No court has decided which side is right. But both sides agreed
 people that may include you (the “Class”). There is no          paid separately by HP. You may hire your own lawyer
 money available now and no guarantee that there will be.                                                                            to provide beneﬁts to California and New Jersey purchasers of certain VAIO laptops and to resolve the case in order
                                                                 to represent you at your own expense. Anne Wolf is a                to limit further expense, inconvenience, and uncertainty.
                    AM I AFFECTED?                               Class member like you, and the Court has appointed her
                                                                                                                                     Am I a Class Member? You are a “Class Member” if you are: (1) a California resident who purchased a Sony VAIO
   The Class includes all consumers within the meaning           to serve as the “Class Representative.”                             Laptop, series SZ, FZ, NW, EB, or F, in California between March 16, 2006 and January 4, 2017; or (2) a New Jersey
 of the California Consumer Legal Remedies Act, Cal.                   WHAT ARE MY RIGHTS & OPTIONS?                                 resident who purchased a Sony VAIO Laptop, series SZ, FZ, NW, EB, or F, in New Jersey between March 16, 2006
 Civil Code § 1761(d), who purchased an HP LaserJet                You have a choice of whether to stay in the Class                 and January 4, 2017.
 Pro P1102 printer (“the printer”) at a physical retail          or not. If you do nothing, you are choosing to stay in
 location in the State of California between April 2014                                                                              What relief does the Settlement provide? If you are a Class Member, you are eligible to receive a Settlement
                                                                 the Class. This means you will be legally bound by all              Payment of a one-time cash payment of: (a) 65% of documented out-of-pocket expenses incurred to repair a
 and the present, and whose printer was advertised to            orders and judgments of the Court and you won’t be
 include the “HP Smart Install” feature, but was in fact                                                                             touchpad up to a cap of $200; (b) 65% of documented out-of-pocket expenses incurred to purchase a peripheral
                                                                 able to sue or continue to sue HP about the legal claims            workaround because of purported touchpad issues up to a cap of $60; (c) $25 for any Class Member who claims to
 subject to HP’s disablement of the Smart Install feature.       made in this case in a different lawsuit. If money or
 To be included in this class action as a “consumer,” you                                                                            have experienced touchpad issues, but does not have proof of repair or purchase of a peripheral workaround; or (d)
                                                                 beneﬁts are obtained, you will be notiﬁed about how                 $5 for a Class Member who does not meet criteria for the preceding (a) through (c). To receive a Settlement Payment,
 must have purchased a HP LaserJet Pro P1102 printer             to get a share. If you do not want to stay in the Class,            you must timely complete and submit a valid Claim Form, which explains the eligibility and any documentation
 primarily for personal, family or household purposes.           you must submit a request for exclusion. If you exclude             requirements for the different payment categories. A Claim Form is available on the Internet at the Settlement Website
             WHAT IS THE CASE ABOUT?                             yourself, you cannot get any money or beneﬁts from                  www.VAIOTrackpadLitigationSettlement.com. The deadline to submit a Claim Form is June 5, 2017.
   The lawsuit claims HP manufactured, marketed,                 this lawsuit if any are obtained, but you will keep your
                                                                 right to separately sue HP over the legal issues in this            What are my other options? If you don’t want to be legally bound by the Settlement, you must exclude yourself by
 advertised and sold printers that were advertised to have                                                                           June 5, 2017, or you won’t be able to sue Sony about the legal claims in the Action ever again. If you exclude yourself,
 “HP Smart Install,” a feature designed to allow for the         case. To ask to be excluded from the Class, send a letter           you cannot receive a Settlement Payment from this Settlement. If you stay in the Settlement, you may object to it by
 easy software installation of the printers, when in fact this   to the address below postmarked by April 24, 2017                   June 5, 2017. The detailed notice available at www.VAIOTrackpadLitigationSettlement.com explains how to request
 feature has been disabled from these printers. HP denies        stating you want to be excluded from Anne Wolf v.                   exclusion or object. The Court will hold a hearing on August 7, 2017 at 10:30 a.m. to consider whether to approve the
 all of the claims in the lawsuit. The Court has not ruled       Hewlett-Packard Company, Case No. 5:15-cv-01221-                    Settlement, the request by the lawyers representing all Class Members (Gomez Trial Attorneys, Zeldes Haeggquist
 on the merits of the claims. Lawyers for the Class will         BRO-GJS. Include your name, address, telephone                      & Eck, LLP, and Doyle Lowther LLP) for $3.2 million in attorneys’ fees and costs, and the request by the class
 have to prove their claims at a trial scheduled to begin        number, and signature.                                              representatives (Christina Egner and Rickey Glasco) for $10,000 for plaintiff Christina Egner and $7,500 for plaintiff
 at 8:30 a.m. on November 21, 2017. The lawsuit seeks                  HOW DO I GET MORE INFORMATION?                                Rickey Glasco for a total of $17,500 for their services. You may ask to appear at the hearing, but you don’t have to.
 money for Class members to: (a) reimburse them for                For a detailed notice and other documents                         You may also hire your own attorney to represent you.
 out-of-pocket expenses resulting from the advertising;          about this lawsuit and your rights, go to                           More information? For complete information about the Settlement, to view the Settlement Agreement, related Court
 and (b) compensate them for the difference in value             www.wolfsmartinstallclassaction.com, call 1-888-                    documents and Claim Form, and to learn more about how to exercise your various options under the Settlement,
 between what was promised and what was delivered.               270-3325, write to HP Class Action Administrator, P.O.              visit www.VAIOTrackpadLitigationSettlement.com. You may also write to the Claims Administrator at info@
 The lawsuit also asks for attorneys’ fees and costs and         Box 43434, Providence, RI 02940-3434, or call Class                 VAIOTrackpadLitigationSettlement.com or In Re Sony VAIO Computer Notebook Trackpad Claims Administrator,
 a Court order requiring HP to inform consumers of the           Counsel at 1-877-206-4741.                                          PO Box 43343, Providence, RI 02940-3343 or by toll-free telephone at 1-877-790-2114.
                                       (DAILY NEWS)                                        (DAILY NEWS)                                          (DAILY NEWS)                                            (DAILY NEWS)
                                 NOTICE OF LIEN SALE                                 NOTICE OF LIEN SALE                                   NOTICE OF LIEN SALE                         NOTICE OF DISPOSITION OF COLLATERAL
     Rentals                      AT PUBLIC AUCTION
                          Notice is hereby given that personal
                                                                                      AT PUBLIC AUCTION
                                                                              Notice is hereby given that personal
                                                                                                                                            AT PUBLIC AUCTION
                                                                                                                                    Notice is hereby given that personal
                                                                                                                                                                                         (California Commercial Code Section 9613)
                                                                                                                                                                                        Notice is hereby given that on March 23, 2017, at
                          property in the following units will be             property in the following units will be               property in the following units will be          10:00 a.m., at the offices of the Screen Actors Guild-
                          sold at public auction, on the 16th day of          sold at public auction, on the 16th day of            sold at public auction, on the 16th day of       American Federation of Television and Radio Artists
  Unfurnished Apts        March, 2017 at or after          9:30 AM            March, 2017 at or after          9:00 AM              March, 2017 at or after          9:15 AM         (“SAG-AFTRA”), located at 5757 Wilshire Boulevard,
                          pursuant to the California Self-Storage             pursuant to the California Self-Storage               pursuant to the California Self-Storage          1st Floor (Bella Bruck Boardroom), Los Angeles,
                          Facility Act. The sale will be conducted            Facility Act. The sale will be conducted              Facility Act. The sale will be conducted         California, Guild Intellectual Property Realization
   Granada Hills          at: U-Haul Moving and Storage of Sun                at: U-Haul Moving and Storage of                      at: U-Haul Center at Glendale, 1313 S.           LLC (“Creditor”), as the successor-in-interest and
   2 Bedroom +            Valley, 7721 Hollywood Way, Burbank,                Fletcher, 2671 Fletcher Dr., Los Angeles,             Brand Blvd., Glendale, CA 91204. The             secured party to various security documents (the
    2 Bathroom            CA 91505. The Items to be sold are                  CA 90039. The Items to be sold are                    Items to be sold are generally described         “Security Documents”) entered into in favor of Screen
   Central Air &          generally described as follows: clothing,           generally described as follows: clothing,             as follows: clothing, furniture, and/or          Actors Guild, Inc. or SAG-AFTRA (as applicable) by
  Heat, Fireplace,
  Laundry Room.
                          furniture, and/or other household items             furniture, and/or other household items               other household items stored by the              certain debtors and/or obligors, including, without
  Gated Building.         stored by the following persons:                    stored by the following persons:                      following persons:                               limitation, (i) One Nine, LLC; (ii) American
   2 Car Parking                  NAME/UNIT NUMBER                                    NAME/UNIT NUMBER                                      NAME/UNIT NUMBER                         Dresser     Productions,     LLC;      (iii)  American
    818-366-2466          KACIE WOODWORTH                  1013               CHARLOTTE ROBINSON               213                  ROBERT MICELI                    AA9190F         Dresser Productions       NY, INC.; (iv) Sideshow
       No Pets            KALI HERRERA                     1023               Auctioneer: Kelly Jackson Auction                     Auctioneer: Kelly Jackson Auction                Productions, Inc.; (v) Rounding 3rd Productions,
      8am -2pm            PATRICIA MCCLERNON               1075               Service - bond # MS337-62-23                          Service - bond # MS337-62-23                     LLC; (vi) Philip Craeger;           (vii) Main Street
                          Auctioneer: Kelly Jackson Auction                      Publish February 27, March 6, 2017                     Publish February 27, March 6, 2017           Movie Group, LLC; (viii) Po’ Boy Productions;
                          Service - bond # MS337-62-23                                                                                           (DAILY NEWS)                        (ix) Rainbow Tribe, LLC; (x) Rock the Paint
     Reseda                  Publish February 27, March 6, 2017                   (DAILY NEWS)
                                                                            NOTICE OF LIEN SALE                                            NOTICE OF LIEN SALE                       Productions, LLC; (xi) Donut Hole, LLC; (xii)
    1 BDRM, 1 BATH                     (DAILY NEWS)                          AT PUBLIC AUCTION                                              AT PUBLIC AUCTION                        Storybook Sequels, Inc. d/b/a DHG Productions;
 Air, Pool, Gas Stove,           NOTICE OF LIEN SALE                 Notice is hereby given that personal                           Notice is hereby given that personal             (xivii First Offense, LLC; (xiv) Shooting Livien,
  Blinds, Fireplace,              AT PUBLIC AUCTION                  property in the following units will be                        property in the following units will be          LLC; and (xv) Surviving Eden, LLC (collectively,
 Dishwasher,Laundry       Notice is hereby given that personal       sold at public auction, on the 16th day of                     sold at public auction, on the 16th day of       “Debtors”), will sell, at public auction, to the highest
    Gated Parking.        property in the following units will be    March, 2017 at or after          8:00 AM                       March, 2017 at or after          8:30 AM         qualified bidder for cash or otherwise acceptable
        No Pets.          sold at public auction, on the 16th day of pursuant to the California Self-Storage                        pursuant to the California Self-Storage          terms, all right, title, and interest (if any) of the
       $1,200/mo          March, 2017 at or after          8:15 AM   Facility Act. The sale will be conducted                       Facility Act. The sale will be conducted         applicable Debtor(s) in and to the motion pictures
  818-705-0199            pursuant to the California Self-Storage    at: U-Haul Moving and Storage of East                          at: U-Haul Moving and Storage of                 formerly or presently entitled: (i) “Adrift in
                          Facility Act. The sale will be conducted   Pasadena, 3559 East Colorado Blvd.,                            Altadena,     2320   N. Lincoln      Ave.,       Manhattan”; (ii) “American Dresser”; (iii) “Blood
                          at: U-Haul Center Moving and Storage of    Pasadena, CA 91107. The Items to be                            Altadena, CA 91001. The Items to be sold         Night: The Legend of Mary Hatchet”; (iv) “Death by
   Sherman Oaks           Pasadena, 522 S. Raymond Ave.,             sold are generally described as follows:                       are generally described as follows:              Engagement” aka “The Groom’s Revenge”; (v) “Evil
                          Pasadena, CA 91105. The Items to be        clothing,    furniture,   and/or     other                     clothing,    furniture,    and/or    other       Angel”; (vi) “Night Vision”; (vii) “The Rainbow
  Horace Heidt            sold are generally described as follows:   household items stored by the following                        household items stored by the following          Tribe”; (viii) “Rock the Paint”; (ix) “Say Uncle” aka
                          clothing,    furniture,    and/or    other persons:                                                       persons:                                         “Donut Hole” aka “Doughnut Hole”; (x) “The
      Estate              household items stored by the following            NAME/UNIT NUMBER                                               NAME/UNIT NUMBER                         Scorned”; (xi) “Sex and Consequences” aka “First
 Apartment Homes          persons:                                   HAZEL RAMACULA                   10                            TIFFANY BRIDGES                  252             Offense” aka “Last Sunset”; (xii) “Shooting Livien”;
                                  NAME/UNIT NUMBER                   VIVIAN GUTIERREZ                 62                            ELIA LOPEZ                       334             and (xiii) “Surviving Eden” aka “Nothing Ever
  Showing Hours           MICHAEL WAINA 38                           LAMONICA JERDAWN LACEY 75                                      KEITH GRIFFIN                    352             Happens to Me” (collectively, the “Collateral”).
                          TANYA BENFORD 1008                         KRISTINA DIXON                   146                           CINDY BALVANEDA                  312-13             Creditor reserves the right to withdraw any of the
  M-F 11:00 - 3:00        MICHAEL BIAS          1112                 RIA LEIGH RABUT                  312                           Auctioneer: Kelly Jackson Auction                Collateral from the auction at any time and without
  1 & 2 Bedrooms          MICHAEL BIAS          1115                 PAULA BROUSSARD                  374                           Service - bond # MS337-62-23                     notice, to postpone and re-notice the time and date of
    $1575 - $2250         Auctioneer: Kelly Jackson Auction          VALERIE YOUNG                    537                               Publish February 27, March 6, 2017           the auction by oral announcement, and/or to make
 Tennis-Pools-Gym         Service - bond # MS337-62-23               VIVIAN GUTIERREZ                 0271-72                                    (DAILY NEWS)                        credit bids at the sale or any continuance thereof. If
                             Publish February 27, March 6, 2017      Auctioneer: Kelly Jackson Auction                                     NOTICE OF LIEN SALE                       competing offers with different terms and conditions
 14155 Magnolia Bl.                                                  Service - bond # MS337-62-23                                           AT PUBLIC AUCTION                        are submitted, Creditor will determine which offers
                                       (DAILY NEWS)                     Publish February 27, March 6, 2017
 Kae 818.784.8211                NOTICE OF LIEN SALE                                                                                Notice is hereby given that personal             will be accepted, and its decision in this regard shall
 Nikki 818.784.8212               AT PUBLIC AUCTION                        LOS ANGELES COUNTY                                       property in the following units will be          be final.
                          Notice is hereby given that personal                  METROPOLITAN                                        sold at public auction, on the 16th day of          Creditor cannot warrant what (if any) rights the
                          property in the following units will be             TRANSPORTATION                                        March, 2017 at or after         10:30 AM         Debtors may have in the Collateral, nor the accuracy
                          sold at public auction, on the 16th day of         AUTHORITY (Metro)                                      pursuant to the California Self-Storage          or completeness of its information regarding the
 West      Hills                                                                                                                                                                     Collateral and the Debtors’ rights therein, and
  1 BDRM 1 BATH           March, 2017 at or after         12:30 PM                                                                  Facility Act. The sale will be conducted
                          pursuant to the California Self-Storage        REQUEST FOR PROPOSALS                                      at: U-Haul Moving and Storage of                 prospective buyers are responsible to conduct their
      Cent Air,                                                                                                                                                                      own investigation regarding the Collateral. The sales
                          Facility Act. The sale will be conducted                                                                  Canyon Country, 27150 Sierra Hwy,
     Dishwasher                                                                                                                     Canyon Country, CA 91351. The Items to           will be made as-is and where is, with all defects and
  Stove, Fireplace,
                          at: U-Haul Moving and Storage of Metro will receive proposals for
                          Lancaster, 42925 Sierra Hwy, Lancaster, RFP          No.    AE38849      SB     I-605                     be sold are generally described as               faults, and without recourse, covenants, warranty, or
  Gated Parking No                                                                                                                  follows: clothing, furniture, and/or other       representations, express or implied, to satisfy the
                          CA 93534. The Items to be sold are FROM                 SR-91       TO      SOUTH
   Pets Call 8am -        generally described as follows: clothing, STREET IMPROVEMENTS, per                                        household items stored by the following          current respective indebtedness and obligations of the
     5 pm $1,200          furniture, and/or other household items specifications on file at Office of                               persons:                                         Debtor(s) to Creditor under applicable Security
    818-348-6642          stored by the following persons:           Procurement, One Gateway Plaza,                                        NAME/UNIT NUMBER                         Documents, an account of which is available to the
                                  NAME/UNIT NUMBER                   Los Angeles, CA 90012 (9th Floor).                             MIGUEL GARCIA QUINTAS AA6365B                    Debtor(s).
      West Hills          SUZZETTE BURNS                   1025                                                                     MIGUEL GARCIA QUINTAS AA1716D                       Information now available in Creditor’s possession
$2095 3+2, Remod Kitch-   FELICIA RICH                     1510      All proposals must be submitted to                             BRANDON HUBBARD                  C01             pertaining to the motion pictures has been assembled
en, air, new tile floor
& carpet, 2 car gar,      MEISHIA BEAVER                   1520      Metro, and be filed at the reception                           PETER LAVELLE                    C22             and will be available for inspection at the SAG-AFTRA
gated yard, garden-       BARYALEI SHARIF                  1522      desk of the Office of Procurement                              JOHN HUTCHINSON                  C35             offices during the hours of 1:00 p.m.– 4:00 p.m. on
 er. 7831 Ducor Ave.
   818- 887-2200          HAIDEE SALAZAR                   1639      on or before April 6, 2017 by 2:00                             MICHAEL FOUTZ                    D20             March 17, 2017 or by appointment. Each interested
                          NIEKO HORN                       1656      P.M.      (local    time).     Proposals                       NORMAN SANCHEZ                   F158            party must sign a confidentiality agreement as a
                          GRISELDA GARCIA                  1831      received after the above date and                              NORMAN SANCHEZ                   F177            precondition to reviewing these materials. To
Condo Twnhs Rentals       KEYONTA COLLINS                  1915                                                                     SHARRIE JACOB                    F192            schedule an appointment to review these materials,
                                                                     time may be rejected and returned
 Woodland Hills           DAR KEYCIO LAURE                 1928      unopened. Each Proposal must be                                SARAH FAAS                       F203            interested parties should contact Creditor, c/o Susan
 Warner Center            KEISHA ROBERTS                   1936      sealed and marked Proposal R F P                               ANNETTE MONTOYA                  G293            Lowry, 5757 Wilshire Blvd, 7th Floor, Los Angeles,
 Upgraded 3+2.5           JOSE ALENCASTRO                  1643-45   No.      AE38849.     A Pre-Proposal                           Auctioneer: Kelly Jackson Auction                California 90036, phone number (323) 549-6581.
Condo On Stream
   2 Car Garage           R B BRYANT                       A116      conference will be held on M a r c h                           Service - bond # MS337-62-23                        The sale will be conducted pursuant to the
  $2750 , RENTED          VALERIE MIDDLEBROOK              AA2891C 17, 2017 at 11:00 a.m. in the                                        Publish February 27, March 6, 2017           California Commercial Code-Secured Transactions,
                          VALERIE MIDDLEBROOK              AA5205F Henry        Huntington       Conference                                     (DAILY NEWS)                         Section 9610, and all other applicable laws of the State
    Other Rentals         MOSES EDINBOROUGH                B104      Room, Third Floor located at the                                   DBE SUBCONTRACTORS /                         of California.
                          JASON WALLACE                    B121      address above.                                                  SUPPLIER BIDS / PROPOSALS                                 Dated    February     15,   2017,   by   Guild
                          MARY CLARKE                      D125                                                                                 REQUESTED                            Intellectual Property Realization LLC, the successor
    Guest Houses          ROBERT MNAMECHE                  E106                                                                                                                      to Screen Actors Guild, Inc. or SAG-AFTRA as
                                                                     Copies of the RFP will be available                                      RFP NO. OP38382
La Canada RENTAL          KENNETH VIDAL                    F115      for download from Metro’s website                              Contracted Transportation Services               Creditor under the Security Documents
All utilities included    DAVEON MILLER                    F120      www.metro.net/solicitations.                                   – East. Bid/proposal submittal                                     Publish March 6, 2017
 & washer/dryer.
  $1470 / mo.             Auctioneer: Kelly Jackson Auction          Additionally, you may obtain a copy                            date: March 22, 2017 @ 2:00 pm
(818) 248-5559            Service - bond # MS337-62-23               of the RFP, or further information                             Owner:       Los     Angeles      County
                             Publish February 27, March 6, 2017

                                                                                                                                                                                                  -Ì>ÀÌ} >
                                                                     by emailing Roxane Marquez at                                  Metropolitan             Transportation
    Motels Hotels                                                    marquezro@metro.net or via phone                               Authority (LACMTA) Performance
                                                                     at (213) 922-4147.                                             / Payment / Supply Bond may be
                          Transportation Transportation
                                                                                                                                                                                                iÜ LÕÃiÃÃ¶
  VINE LODGE                                                         3/6/17                                                         required. This advertisement is in
                                                                     CNS-2983203#                                                   response       to   LACMTA’S         DBE
     HOTEL                                                           DAILY NEWS LOS ANGELES                                         program. Southland Transit, Inc
  1818 N. Vine St.                                                                                                                  (STI) intends to conduct itself in
 Los Angeles 90028
                             Buses Taxi Etc                Trucks                Autos For Sale             Autos For Sale          "good     faith"   with    DBE      firms
   $60 & up Daily
 $260 & up Weekly                                                                   Buick ’16                 CHEVROLET
                                                                                                                                    regarding participation on this                        *ÕLÃ 9ÕÀ VÌÌÕÃ ÕÃiÃÃ >i
                                                       Chevrolet’13                                                                 project. Information related to this
   323/464-9661
                                                       Silverado LT
                                                         DG292791
                                                                                     Regal
                                                                                  1at this Offer
                                                                                                              2010 EQUINOX
                                                                                                                 $13,495
                                                                                                                                    project may be reviewed in our                         ­ ®  Ì i Ã }iiÃ >Þ iÜÃ°
                                                          $24,498
                                                                                 (15572) $17,950          (253157) Ask For Andy     office Monday through Friday, 8:00
                                                       (888)556-8214
                                                                                  626-966-4461           or Stuart (310) 378-0211   am to 5:00 pm. Quotes are required
  Rooms for Rent                                                                                                                    by COB, March 17, 2017 @ 4:00 pm,
                                                                                                                                    so that all bids/proposals can be
                                                                                                                                                                                            ✔ ,i>Li] Ài`Þ ÕÃÌiÀ -iÀÛVi
  BURBANK
Large room & bath,
Utilities paid, micro-
                                                       Chevrolet’14
                                                                                Text Code AD97036
                                                                                 To 56654 for info
                                                                                                                                    fairly evaluated. Please submit
                                                                                                                                    bids/proposals for the following
                                                                                                                                                                                            ✔ *À«Ì /ÕÀ>ÀÕ` /i
                                                        Tahoe LTZ                                             CHEVROLET             work (but not limited to): vehicle
   wave & fridge.
$799/mo 818-845-3235                                    (ER149529)
                                                          $36,965
                                                                                  Chevrolet’03
                                                                                     Corvette
                                                                                                               2012 TAHOE           and facility maintenance, janitorial                    ✔ `Õ`V>Ìi` vÀ Ã }iiÃ ÕÌÞ
                                                                                                                 $29,995
                                                       (888)556-8214                (35111102)                                      services, auto body repair, and car




                                                                                                                                                                                           $99
Canoga Park 91304                                                                                         (180593) Ask For Andy
  $850/mo, shared         Sports Utility Vehicle                                      $18,965
                                                                                  (888)556-8214                                     washing. Contact: Jason Snow –
utilities, own bath,
 some house privi-           Chevrolet’06
                                                                                                         or Stuart (310) 378-0211
                                                                                                                                    Southland Transit, 3650 Rockwell                                              *
   leges, no pets                HHR LT                                                                                             Avenue 626.258.1310 fax 626.258.1329
    818-341-0058               (6S573696)              Chevrolet’16                                                                       Publish March 5, 6, 7, 2017
                                 $6,990                Silverado LT
Reseda AL’S HOME             (888)556-8214               GG281400
$135/Week Also Los                                        $32,965                 Chevrolet’14                CHEVROLET                Autos For Sale           Autos For Sale
Angeles & Granada                                      (888)556-8214               Camaro LS                  2013 IMPALA
Hills (818) 881-0073                                                                (E9225902)                   $11,995                 Dodge’15                  Ford’12               I ÃÌ V> Li ÕÃi` >Ã VÀi`Ì
                                                                                      $16,498             (129755) Ask For Andy       Charger SRT392              Focus SEL
West Hills Furnished                                                              (888)556-8214
                                                                                                         or Stuart (310) 378-0211         (770223)               (CL237227)               ÌÜ>À`Ã iÜ >`ÛiÀÌÃ}°
 Includes utilities,         Chevrolet’15                                                                                                  $39,990                  $8,987
  Wi-Fi and cable            Suburban LT                                                                                               (888)556-8214            (888)556-8214             -i ÀiÃÌÀVÌÃ >««Þ°
$700 (818) 883-6846
                               (FR66769)              Autos For Sale
                                $39,987
                             (888)556-8214                  BMW
   FAIR HOUSING                                                                   Chevrolet’14                CHEVROLET
      NOTICE                                              2010 535i               Corvette Z51
                                                           $15,995                  (E5111030)
                                                                                                               2013 SONIC            Dodge ’16 Grand
    All roommates                                   (187646) Ask For Andy             $46,476                     $9,888               Caravan SXT                 Ford ’15
    and real estate                                                               (888)556-8214           (109732) Ask For Andy        5 at this Offer
 advertised herein           Chevrolet’16
                                                   or Stuart (310) 378-0211
                                                                                                         or Stuart (310) 378-0211          $16,950                  Focus
   is subject to the          Traverse LS                                                                                              626-966-4461            (243869) $10,798
      Federal Fair             (GJ153665)                                                                                                                        626-795-8851
      Housing Act,               $20,943
     which makes             (888)556-8214
                                                                                                                                                              Thorson Motor Center
       it illegal to                                                                                                                 Text Code AD97032         Text code AD05503
     advertise any                                          BMW                   Chevrolet’14                                        To 56654 for info
                                                                                     Cruze LT                 CHEVROLET                                         to 56654 for info
       preference,                                      2011 MINI DEL
      limitation or
                                                           $12,995                  (E7248920)                2014 MALIBU                Dodge ’16
    discrimination                                                                    $14,476                    $14,995
    based on race,                                  (116974) Ask For Andy         (888)556-8214
                                                                                                                                        Journey SXT               Honda’12
                                                                                                          (223415) Ask For Andy
     color, religion,
    sex, disability,
                                GMC’14
                               Sierra SLT
                                                   or Stuart (310) 378-0211
                                                                                                         or Stuart (310) 378-0211
                                                                                                                                       1 at this Offer
                                                                                                                                      (105829) $18,950
                                                                                                                                                                  Civic EX-L
                                                                                                                                                                 (CH328246)                                                  818-713-3378
                                                                                                                                                                                                                             n£n°Ç£Î°ÎÎx
  familial status or          (EG405583)                                                                                               626-966-4461                $11,476
 national origin or              $36,467                                                                                                                        (888)556-8214                                         i>\ i}>ÃJ`>ÞiÜÃ°V
 intention to make           (888)556-8214
         any such
      preferences,                                                                Chevrolet’15                                       Text Code AD97030
      limitation or                                      Buick ’12                Corvette Z06                                        To 56654 for info
    discrimination.                                      Enclave
                                                                                    (F5603641)
                                                                                                               Chevy ’13
    The Daily News                                    1 at this Offer                                      Silverado X-Cab
                                                     (229897) $16,950                 $70,921
 will not knowingly              GMC’14                                           (888)556-8214            (230448) $19,998
       accept any                                      626-966-4461
    advertising for          Terrain SLT                                                                     626-795-8851
                               (E6154918)
    roommates or
  real estate which              $16,476
                                                                                                          Thorson Motor Center
   is in violation of        (888)556-8214           Text Code AD97018                                      Text code AD05611
        the law. If                                   To 56654 for info                                      to 56654 for info
     you have any                                                                  CHEVROLET
      questions or                                       Buick ’16                2007 CORVETTE                Chevy ’16
   believe that you                                      Lacrosse                                             Traverse 2L
       have been                                                                      $21,995
     discriminated                                     3 at this Offer         (116974) Ask For Andy        5 at this Offer
 against, you may                                          $19,950            or Stuart (310) 378-0211          $23,950
          call the                                     626-966-4461                                         626-966-4461
    Department of
  Housing & Urban
    Development at
   1 (800) 347-3739                                  Text Code AD97038                                     Text Code AD97031
                                                      To 56654 for info                                     To 56654 for info
MONDAY, MARCH 13, 2017             Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15991                            Page 15 of| CLASSIFIEDS  A | 13
                                                                                                          LOS ANGELES DAILY NEWS >> DAILYNEWS.COM
    Legal Notice            Legal Notice    Legal Notice Legal Notice Legal Notice 34 Legal Notice Legal Notice         Legal Notice         Legal Notice Legal Notice
       (DAILY NEWS)                                                   (DAILY NEWS)
  NOTICE OF APPLICATION
TO OPEN PROPOSED BRANCH
                                                            NOTICE OF PUBLIC AUCTION
                                                 Date: Thursday, March 16th, 2017
                                                                                                                     If you are a California or New Jersey resident and purchased a
                                                 Address: 631 West 4th St., Perris, CA 92570                         Sony VAIO Laptop series SZ, FZ, NW, EB, or F between March
Hanmi Bank, headquartered at 3660                Time: 10:00 AM Local Time
Wilshire Blvd., Ph. A, Los Angeles,              By virtue of default by Clean Up America, Inc., under                16, 2006 and January 4, 2017 in California or New Jersey, you
CA 90010, intends to apply to the                the nine variously dates Promissory Notes &
Federal        Deposit       Insurance           Engineered Well Service International, Inc., under the                    may be eligible to receive a cash payment from Sony.
Corporation      for   permission     to         four variously dated Promissory Notes, payable to
establish a branch at 325 Fifth                  Commercial        Credit    Group      Inc.,   payable   to               Si usted más información o desea obtener una copia de este documento legal en Español, visite el sitio
Avenue, New York, NY 10016. Any                  Commercial Credit Group Inc. (“CCG”), which                                                          www.VAIOTrackpadLitigationSettlement.com.
person wishing to comment on this                obligation is secured by the property described below               A settlement (“Settlement”) has been proposed in a class action lawsuit pending in the U.S. District Court for the
application may file his or her                  (the “Equipment”), CCG will sell at Public Auction, to              Southern District of California (“Court”) titled In Re Sony VAIO Computer Notebook Trackpad Litigation, Case
comments in writing with the                     the highest bidder, AS-IS, WHERE-IS, WITHOUT                        No. 09-cv-2109 (“Action”). The purpose of this notice is to inform potential Class Members of the Action and the
regional director of the Federal                 ANY REPRESENTATIONS                  OR WARRANTIES,
Deposit Insurance Corporation at                 EXPRESS,           IMPLIED         OR        STATUTORY,             Settlement so that they may decide what steps to take in relation to it.
the    appropriate      FDIC     office,         INCLUDING          WITHOUT        LIMITATION,         ANY           What is the Action about? The Action was ﬁled against Sony Electronics Inc. (“Sony”) by plaintiffs Christina
located at 25 Jessie Street at Ecker             WARRANTY OF MERCHANTABILITY                       OR ANY            Egner and Rickey Glasco alleging Sony sold certain series of VAIO Laptops with a defectively designed touchpad
Square, Suite 2300, San Francisco,               WARRANTY OF FITNESS FOR A PARTICULAR                                (also known as trackpad) component. Sony denies wrongdoing and liability and both sides disagree on how much, if
CA, 94105-2780, not later than March             P U R P O S E , all of its right, title and interest to the         anything, the Class could have recovered after trial. No court has decided which side is right. But both sides agreed
28,    2017.   The     nonconfidential           following Equipment:                                                to provide beneﬁts to California and New Jersey purchasers of certain VAIO laptops and to resolve the case in order
portions of the application are on               Quantity/Year/Make/Model                                            to limit further expense, inconvenience, and uncertainty.
file at the appropriate FDIC office              One (1) 2013 Western Star 4700S Chassis w/ Amrep
and are available          for   public          rolloff body, VIN: 5KKHAXCY9DPFD1458                                Am I a Class Member? You are a “Class Member” if you are: (1) a California resident who purchased a Sony VAIO
inspection during regular business               One (1) 2012 Freightliner 114SD Chassis w/ Amrep                    Laptop, series SZ, FZ, NW, EB, or F, in California between March 16, 2006 and January 4, 2017; or (2) a New Jersey
hours.       Photocopies      of     the         rolloff hoist, VIN: 1FVHG3CY7CHBR5125                               resident who purchased a Sony VAIO Laptop, series SZ, FZ, NW, EB, or F, in New Jersey between March 16, 2006
nonconfidential      portion   of    the         One (1) 2002 John Deere 544H Wheel Loader w/ 2012                   and January 4, 2017.
application file will be made                    Tink 3000 bucket, SN: DW544HX583752                                 What relief does the Settlement provide? If you are a Class Member, you are eligible to receive a Settlement
available upon request.                          One (1) 2008 Western Star 4900 Day Cab Tractor, VIN:                Payment of a one-time cash payment of: (a) 65% of documented out-of-pocket expenses incurred to repair a
        Publish March 13, 2017                   5KJJAECV08PZ47924                                                   touchpad up to a cap of $200; (b) 65% of documented out-of-pocket expenses incurred to purchase a peripheral
                                                 One (1) 2002 Allco End Dump Trailer, VIN:
  Rooms for Rent            Autos For Sale       1R9ED30272A421008                                                   workaround because of purported touchpad issues up to a cap of $60; (c) $25 for any Class Member who claims to
                                                 One (1) 2007 Volvo Chassis w/ Galbreath U5-OR-174                   have experienced touchpad issues, but does not have proof of repair or purchase of a peripheral workaround; or (d)
                              Buick ’16          rolloff hoist, VIN: 4V5KC9GC57N466513                               $5 for a Class Member who does not meet criteria for the preceding (a) through (c). To receive a Settlement Payment,
   FAIR HOUSING
                               Regal             One (1) 2015 Isuzu NRR Chassis w/attached 2015                      you must timely complete and submit a valid Claim Form, which explains the eligibility and any documentation
      NOTICE                1at this Offer
                           (15572) $17,950       Stewart-Amos        Galaxy       R-6      Sweeper,     S/N:         requirements for the different payment categories. A Claim Form is available on the Internet at the Settlement Website
   All roommates            626-966-4461         JALE5W16XF7300236 & 3022                                            www.VAIOTrackpadLitigationSettlement.com. The deadline to submit a Claim Form is June 5, 2017.
   and real estate
advertised herein                                Terms: Successful bidder must pay 25% of purchase                   What are my other options? If you don’t want to be legally bound by the Settlement, you must exclude yourself by
  is subject to the                              price at time of sale via cash, certified or acceptable             June 5, 2017, or you won’t be able to sue Sony about the legal claims in the Action ever again. If you exclude yourself,
     Federal Fair
     Housing Act,
                          Text Code AD97036      bank check, with the balance payable in good funds on               you cannot receive a Settlement Payment from this Settlement. If you stay in the Settlement, you may object to it by
                           To 56654 for info
    which makes                                  the next business day, unless:                                      June 5, 2017. The detailed notice available at www.VAIOTrackpadLitigationSettlement.com explains how to request
      it illegal to         Chevrolet’03         1.The bidder has pre-qualified by presenting CCG with
    advertise any              Corvette
                                                 a written non-contingent, lending commitment from a                 exclusion or object. The Court will hold a hearing on August 7, 2017 at 10:30 a.m. to consider whether to approve the
      preference,             (35111102)
     limitation or              $18,965          source and in a form acceptable to CCG in its sole                  Settlement, the request by the lawyers representing all Class Members (Gomez Trial Attorneys, Zeldes Haeggquist
   discrimination           (888)556-8214
                                                 discretion, in which case we will entertain bids up to              & Eck, LLP, and Doyle Lowther LLP) for $3.2 million in attorneys’ fees and costs, and the request by the class
   based on race,
    color, religion,                             the amount of such written commitment; or                           representatives (Christina Egner and Rickey Glasco) for $10,000 for plaintiff Christina Egner and $7,500 for plaintiff
   sex, disability,
                                                 2.The bidder has obtained from CCG written credit                   Rickey Glasco for a total of $17,500 for their services. You may ask to appear at the hearing, but you don’t have to.
 familial status or
national origin or                               approval in advance of the scheduled public sale.                   You may also hire your own attorney to represent you.
                            Chevrolet’14
intention to make
        any such             Camaro LS
                                                 CCG reserves the right to bid at the sale. Contact                  More information? For complete information about the Settlement, to view the Settlement Agreement, related Court
     preferences,             (E9225902)         Kevin McGinn at (704)-731-0031 for additional                       documents and Claim Form, and to learn more about how to exercise your various options under the Settlement,
     limitation or              $16,498          information or to arrange an inspection of the                      visit www.VAIOTrackpadLitigationSettlement.com. You may also write to the Claims Administrator at info@
   discrimination.
   The Daily News
                            (888)556-8214        Equipment.                                                          VAIOTrackpadLitigationSettlement.com or In Re Sony VAIO Computer Notebook Trackpad Claims Administrator,
will not knowingly                                             Commercial Credit Group Inc.
      accept any
                                                  227 West Trade Street, Suite 1450, Charlotte, NC 28202             PO Box 43343, Providence, RI 02940-3343 or by toll-free telephone at 1-877-790-2114.
   advertising for
   roommates or                                                   Publish March 12, 13, 2017
 real estate which          Chevrolet’14                                                                                                                       LEGAL NOTICE TO ALL CONSUMERS
  is in violation of        Corvette Z51
       the law. If            (E5111030)


                                                             -Ì>ÀÌ} >                                                   If you purchased a Hewlett-Packard LaserJet Pro P1102
    you have any                $45,965
     questions or           (888)556-8214
  believe that you
      have been
    discriminated                                                                                                        printer, then you may be affected by a class action lawsuit.
                                                           iÜ LÕÃiÃÃ¶
against, you may
         call the
   Department of
 Housing & Urban
                            Chevrolet’15                                                                               You may be affected by a class action lawsuit claiming        false advertising and to refund a portion of the money
                            Corvette Z06                                                                             that Hewlett-Packard Company, now known as HP, Inc.             Class members paid to purchase the printers. There is no
   Development at
                              (F5603641)
  1 (800) 347-3739
                                $70,421                                                                              (“HP”), manufactured, marketed, advertised, and sold            money available now and no guarantee that there will be.
                            (888)556-8214
                                                      *ÕLÃ 9ÕÀ VÌÌÕÃ ÕÃiÃÃ >i                             printers that advertised “HP Smart Install,” a feature                        WHO REPRESENTS ME?
                                                                                                                     designed to allow for the easy software installation of           The Court has appointed the Law Ofﬁces of Todd
                                                      ­ ®  Ì i Ã }iiÃ >Þ iÜÃ°                              the printers, when in fact this feature had been disabled
Transportation              Chevrolet’16
                                                                                                                     from these printers. The lawsuit, Anne Wolf v. Hewlett-
                                                                                                                                                                                     M. Friedman, P.C. to represent you and other Class
                                                                                                                                                                                     members as Class Counsel.You do not have to pay Class
                              Cruze LT                                                                               Packard Company, Case No. 5:15-cv-01221-BRO-GJS,                Counsel or anyone else to participate. If Class Counsel
                             (G7105327)
                               $13,498
                                                       ✔ ,i>Li] Ài`Þ ÕÃÌiÀ -iÀÛVi                          is in the United States District Court for the Central          obtains money or other beneﬁts for the Class, they may
   Buses Taxi Etc                                                                                                    District of California. The Court decided that this
                            (888)556-8214
                                                       ✔ *À«Ì /ÕÀ>ÀÕ` /i                                      lawsuit should be a class action on behalf of a group of
                                                                                                                                                                                     ask the Court for attorneys’ fees and costs, which would
                                                                                                                                                                                     be paid out of any money recovered for the Class or be
                                                                                                                     people that may include you (the “Class”). There is no
                                                       ✔ `Õ`V>Ìi` vÀ Ã }iiÃ ÕÌÞ                           money available now and no guarantee that there will be.
                                                                                                                                                                                     paid separately by HP. You may hire your own lawyer
                                                                                                                                                                                     to represent you at your own expense. Anne Wolf is a




                                                      $99
                              Chevy ’13                                                                                                 AM I AFFECTED?                               Class member like you, and the Court has appointed her
                           Silverado X-Cab                                                                             The Class includes all consumers within the meaning           to serve as the “Class Representative.”
                           (230448) $19,998                                  *                                       of the California Consumer Legal Remedies Act, Cal.
                             626-795-8851                                                                                                                                                  WHAT ARE MY RIGHTS & OPTIONS?
                                                                                                                     Civil Code § 1761(d), who purchased an HP LaserJet                You have a choice of whether to stay in the Class
                          Thorson Motor Center                                                                       Pro P1102 printer (“the printer”) at a physical retail
                           Text code AD05611                                                                                                                                         or not. If you do nothing, you are choosing to stay in
                            to 56654 for info                                                                        location in the State of California between April 2014          the Class. This means you will be legally bound by all
                                                                                                                     and the present, and whose printer was advertised to            orders and judgments of the Court and you won’t be
Sports Utility Vehicle        Chevy ’16             I ÃÌ V> Li ÕÃi` >Ã VÀi`Ì                                      include the “HP Smart Install” feature, but was in fact
                             Traverse 2L                                                                                                                                             able to sue or continue to sue HP about the legal claims
   Chevrolet’06             5 at this Offer
                                                     ÌÜ>À`Ã iÜ >`ÛiÀÌÃ}°                                        subject to HP’s disablement of the Smart Install feature.       made in this case in a different lawsuit. If money or
       HHR LT                   $23,950              -i ÀiÃÌÀVÌÃ >««Þ°                                        To be included in this class action as a “consumer,” you        beneﬁts are obtained, you will be notiﬁed about how
     (6S573696)             626-966-4461
       $6,990
                                                                                                                     must have purchased a HP LaserJet Pro P1102 printer             to get a share. If you do not want to stay in the Class,
   (888)556-8214                                                                                                     primarily for personal, family or household purposes.           you must submit a request for exclusion. If you exclude
                          Text Code AD97031                                                                                      WHAT IS THE CASE ABOUT?                             yourself, you cannot get any money or beneﬁts from
                           To 56654 for info
                                                                                                                       The lawsuit claims HP manufactured, marketed,                 this lawsuit if any are obtained, but you will keep your
      GMC’14
                         CHEVY                                                                                       advertised and sold printers that were advertised to have       right to separately sue HP over the legal issues in this
                            CAMARO ’15
     Sierra SLT             Vin# 278820                                                                              “HP Smart Install,” a feature designed to allow for the         case. To ask to be excluded from the Class, send a letter
    (EG405583)                $19,589                                                                                easy software installation of the printers, when in fact this   to the address below postmarked by April 24, 2017
       $35,965
   (888)556-8214                                                                                                     feature has been disabled from these printers. HP denies        stating you want to be excluded from Anne Wolf v.
                                                                                                                     all of the claims in the lawsuit. The Court has not ruled       Hewlett-Packard Company, Case No. 5:15-cv-01221-
                                                                                                                     on the merits of the claims. Lawyers for the Class will         BRO-GJS. Include your name, address, telephone
                            877-565 -6855
                                                                                                                     have to prove their claims at a trial scheduled to begin        number, and signature.
       GMC’14            CHEVY                                                                                       at 8:30 a.m. on November 21, 2017. The lawsuit seeks
   Terrain SLT             CAMARO LS ’15
                                                                                                                                                                                           HOW DO I GET MORE INFORMATION?
     (E6154918)             Vin# 336225                                                 818-713-3378
                                                                                        n£n°Ç£Î°ÎÎx                 money for Class members to: (a) reimburse them for                For a detailed notice and other documents
       $15,965                $18,589                                                                                out-of-pocket expenses resulting from the advertising;          about this lawsuit and your rights, go to
   (888)556-8214
                                                                                 i>\ i}>ÃJ`>ÞiÜÃ°V         and (b) compensate them for the difference in value             www.wolfsmartinstallclassaction.com, call 1-888-
                                                                                                                     between what was promised and what was delivered.               270-3325, write to HP Class Action Administrator, P.O.
                            877-565 -6855
                                                                                                                     The lawsuit also asks for attorneys’ fees and costs and         Box 43434, Providence, RI 02940-3434, or call Class
                                                                                                                     a Court order requiring HP to inform consumers of the           Counsel at 1-877-206-4741.
       Trucks            CHEVY                      Autos For Sale          Autos For Sale        Autos For Sale
                           CORVETTE ’04
   Chevrolet’14             Vin# 118132
                                                  Dodge ’16 Grand


                                                                                                                                                  NEVER PAINT OR
    Tahoe LTZ                 $18,689                                         Honda ’12             Honda ’14
    (ER149529)                                      Caravan SXT               Accord LX             Civic EX-L
      $36,965                                       5 at this Offer
   (888)556-8214                                        $16,950            (199521) $15,600      (504319) $16,400
                                                    626-966-4461            Goudy Honda           Goudy Honda
                            877-565 -6855




                                                                                                                                                   RESTUCCO YOUR
                                                                            1800-670-8698         1800-670-8698
                         CHEVY                                            Text Code Ad15334     Text Code Ad15341
                                                  Text Code AD97032         to 5664 for info      to 5664 for info
   Chevrolet’16              CRUZE ’12             To 56654 for info
    Colorado LT             Vin# 122637
     (G1163220)               $10,989                                         Honda ’12             Honda ’14


                                                                                                                                                    HOUSE AGAIN!
                                                     Dodge ’16
       $31,498
   (888)556-8214                                    Journey SXT               Civic EX-L              CR-V
                                                    1 at this Offer        (277918) $15,900      (700213) $18,400
                                                   (105829) $18,950         Goudy Honda           Goudy Honda
                            877-565 -6855           626-966-4461
                                                                            1800-670-8698         1800-670-8698
                         CHEVY                                            Text Code Ad15336     Text Code Ad15358
   Chevrolet’16                                                             to 5664 for info      to 5664 for info

                                                                                                                                                                                     Introducing
   Silverado LT              CRUZE ’12
                                                  Text Code AD97030
     GG281400               Vin# 188671            To 56654 for info                           HONDA
      $32,454                 $10,988                                         Honda ’12           CIVIC LX ’15



                                                                                                                                                     360 Elasto Armorcote™
   (888)556-8214                                                                                 #078337 $14,225
                                                 DODGE                         Civic LX
                                                      GRAND                                        GLENDORA
                                                    CARAVAN ’14            (560027) $11,600
                                                   #258949 $13,000                                 CHEVROLET
                            877-565 -6855                                   Goudy Honda
                                                    GLENDORA                                       855-300-9190
      Ford’14                                                               1800-670-8698
     F150 FX4            CHEVY                      CHEVROLET             Text Code Ad15333
                           CRUZE 1LT ’12                                    to 5664 for info      HYUNDAI ’04
     EKF61723
                           #255226 $8,500           855-300-9190
      $37,987                                                                                  ACCENT HATCHBACK
   (888)556-8214            GLENDORA                                          HONDA ’13           (294035) $5,000
                            CHEVROLET                  Ford ’15
                                                        Focus
                                                                               CIVIC LX        GLENDORA HYUNDAI
                            855-300-9190                                   (246827) $12,000
                                                   (243869) $10,798                               (909) 394-3500
                         CHEVY                       626-795-8851
                                                                         GLENDORA HYUNDAI
                            EXPRESS ’14                                                            Hyundai’08
   Autos For Sale                                                           (909) 394-3500
                           #192810 $12,200        Thorson Motor Center                            Santa Fe GLS
                            GLENDORA               Text code AD05503                               (8H175582)
      BMW’06
                            CHEVROLET               to 56654 for info         Honda ’14               $7,990
        M3                                                                                        (888)556-8214
    (6PK11751)              855-300-9190                                      Accord LX
                                                 FORD
      $15,987
                                                   ESCAPE XLT ’11          (113303) $15,900
   (888)556-8214         CHEVY
                           SONIC 2LZ ’12            #B66813 $9,000          Goudy Honda
                           #106690 $8,430           GLENDORA                1800-670-8698
                            GLENDORA                CHEVROLET             Text Code Ad15337        HYUNDAI ’10
                            CHEVROLET                                       to 5664 for info        ELANTRA
                                                    855-300-9190
      Buick ’12             855-300-9190                                                          (167256) $5,950
      Enclave
   1 at this Offer                                   Honda ’04               Honda ’14         GLENDORA HYUNDAI
                             Chrysler’13
  (229897) $16,950              300S                  Odyssey               Accord Sport          (909) 394-3500
    626-966-4461
                             (DH658043)            (015087) $4,900         (265378) $17,000
                               $19,498             Goudy Honda              Goudy Honda            HYUNDAI ’11
                            (888)556-8214
 Text Code AD97018
                                                   1800-670-8698            1800-670-8698            SONATA
  To 56654 for info                              Text Code Ad15325        Text Code Ad15346      (095187) $11,736
                                                   to 5664 for info         to 5664 for info
      Buick ’16
                                                                                               GLENDORA HYUNDAI
      Lacrosse               Dodge’15                Honda ’07                Honda ’14           (909) 394-3500
   3 at this Offer        Charger SRT392
       $19,950                (770223)
                                                        FIt                   Civic EX             HYUNDAI ’12
   626-966-4461                $39,498             (062620) $8,750         (265378) $16,900          SONATA
                           (888)556-8214           Goudy Honda              Goudy Honda          (401143) $10,820
                                                   1800-670-8698            1800-670-8698      GLENDORA HYUNDAI
 Text Code AD97038                               Text Code Ad15332        Text Code Ad15342
                                                                                                  (909) 394-3500




                                                                                                                          FREE
  To 56654 for info                                to 5664 for info         to 5664 for info




        Rooﬁng Jobs Guaranteed                                                                                                                                                RAIN GUTTERS OR
            n
              at an Affordable Price!
              tio
                                                                                                                                                                              GARAGE DOOR
     Satisfac eed                               • FREE written estimate                                                     up to $1,700 value with exterior coating
             t
      Guaran ng!
       in Writi                         • NO PRESSURE • NO HASSLES                                                                         Call for details. Cannot be combined with other offers.


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     Superior Serv !                                   ROOFS & ENERGY SOLUTIONS
       over 28 years                                     BY SUDDUTH CONSTRUCTION, INC.                                    ((&54 +($5 $0' 3('6&(4 &11.,0* &1454
                                                                        Lic. No. 847279, B1 & C39                         3$/$5,&$..9 ,/2317( 9163 +164(4 &63% $22($.

                                             FREE $100
                                                 Gift Card to Home Depot
                                                      with $1,000 minimum contract.                                                 Call For Free Guaranteed Estimate
         CALL FOR
     FREE ESTIMATE                                310 856-9760                                                                                                                                                   "
12   |   A
             CLASSIFIEDS Case
                         |    3:09-cv-02109-BAS-MDD
                                      LOS ANGELES DAILY NEWS >> DAILYNEWS.COM                     Document 375-5 Filed 07/10/17 PageID.15992 Page 16 of
                                                                                                                  34 Legal Notice
                                                                                                                                                                                                                                     MONDAY, MARCH 20, 2017
     Legal Notice            Legal Notice             Legal Notice               Legal Notice        Legal Notice                 Legal Notice Legal Notice Legal Notice                                                                   Legal Notice

                                            LEGAL NOTICE TO ALL CONSUMERS
                                                                                                                              If you are a California or New Jersey resident and purchased a
      If you purchased a Hewlett-Packard LaserJet Pro P1102                                                                   Sony VAIO Laptop series SZ, FZ, NW, EB, or F between March
     printer, then you may be affected by a class action lawsuit.                                                              16, 2006 and January 4, 2017 in California or New Jersey, you
  You may be affected by a class action lawsuit claiming         false advertising and to refund a portion of the money
                                                                                                                                    may be eligible to receive a cash payment from Sony.
that Hewlett-Packard Company, now known as HP, Inc.              Class members paid to purchase the printers. There is no            Si usted más información o desea obtener una copia de este documento legal en Español, visite el sitio
(“HP”), manufactured, marketed, advertised, and sold             money available now and no guarantee that there will be.                                       www.VAIOTrackpadLitigationSettlement.com.
printers that advertised “HP Smart Install,” a feature                         WHO REPRESENTS ME?
designed to allow for the easy software installation of                                                                       A settlement (“Settlement”) has been proposed in a class action lawsuit pending in the U.S. District Court for the
                                                                   The Court has appointed the Law Ofﬁces of Todd             Southern District of California (“Court”) titled In Re Sony VAIO Computer Notebook Trackpad Litigation, Case
the printers, when in fact this feature had been disabled        M. Friedman, P.C. to represent you and other Class           No. 09-cv-2109 (“Action”). The purpose of this notice is to inform potential Class Members of the Action and the
from these printers. The lawsuit, Anne Wolf v. Hewlett-          members as Class Counsel.You do not have to pay Class        Settlement so that they may decide what steps to take in relation to it.
Packard Company, Case No. 5:15-cv-01221-BRO-GJS,                 Counsel or anyone else to participate. If Class Counsel
is in the United States District Court for the Central                                                                        What is the Action about? The Action was ﬁled against Sony Electronics Inc. (“Sony”) by plaintiffs Christina
                                                                 obtains money or other beneﬁts for the Class, they may       Egner and Rickey Glasco alleging Sony sold certain series of VAIO Laptops with a defectively designed touchpad
District of California. The Court decided that this              ask the Court for attorneys’ fees and costs, which would
lawsuit should be a class action on behalf of a group of                                                                      (also known as trackpad) component. Sony denies wrongdoing and liability and both sides disagree on how much, if
                                                                 be paid out of any money recovered for the Class or be       anything, the Class could have recovered after trial. No court has decided which side is right. But both sides agreed
people that may include you (the “Class”). There is no           paid separately by HP. You may hire your own lawyer
money available now and no guarantee that there will be.                                                                      to provide beneﬁts to California and New Jersey purchasers of certain VAIO laptops and to resolve the case in order
                                                                 to represent you at your own expense. Anne Wolf is a         to limit further expense, inconvenience, and uncertainty.
                   AM I AFFECTED?                                Class member like you, and the Court has appointed her
                                                                                                                              Am I a Class Member? You are a “Class Member” if you are: (1) a California resident who purchased a Sony VAIO
  The Class includes all consumers within the meaning            to serve as the “Class Representative.”                      Laptop, series SZ, FZ, NW, EB, or F, in California between March 16, 2006 and January 4, 2017; or (2) a New Jersey
of the California Consumer Legal Remedies Act, Cal.                    WHAT ARE MY RIGHTS & OPTIONS?                          resident who purchased a Sony VAIO Laptop, series SZ, FZ, NW, EB, or F, in New Jersey between March 16, 2006
Civil Code § 1761(d), who purchased an HP LaserJet                 You have a choice of whether to stay in the Class          and January 4, 2017.
Pro P1102 printer (“the printer”) at a physical retail           or not. If you do nothing, you are choosing to stay in
location in the State of California between April 2014                                                                        What relief does the Settlement provide? If you are a Class Member, you are eligible to receive a Settlement
                                                                 the Class. This means you will be legally bound by all       Payment of a one-time cash payment of: (a) 65% of documented out-of-pocket expenses incurred to repair a
and the present, and whose printer was advertised to             orders and judgments of the Court and you won’t be
include the “HP Smart Install” feature, but was in fact                                                                       touchpad up to a cap of $200; (b) 65% of documented out-of-pocket expenses incurred to purchase a peripheral
                                                                 able to sue or continue to sue HP about the legal claims     workaround because of purported touchpad issues up to a cap of $60; (c) $25 for any Class Member who claims to
subject to HP’s disablement of the Smart Install feature.        made in this case in a different lawsuit. If money or
To be included in this class action as a “consumer,” you                                                                      have experienced touchpad issues, but does not have proof of repair or purchase of a peripheral workaround; or (d)
                                                                 beneﬁts are obtained, you will be notiﬁed about how          $5 for a Class Member who does not meet criteria for the preceding (a) through (c). To receive a Settlement Payment,
must have purchased a HP LaserJet Pro P1102 printer              to get a share. If you do not want to stay in the Class,     you must timely complete and submit a valid Claim Form, which explains the eligibility and any documentation
primarily for personal, family or household purposes.            you must submit a request for exclusion. If you exclude      requirements for the different payment categories. A Claim Form is available on the Internet at the Settlement Website
            WHAT IS THE CASE ABOUT?                              yourself, you cannot get any money or beneﬁts from           www.VAIOTrackpadLitigationSettlement.com. The deadline to submit a Claim Form is June 5, 2017.
  The lawsuit claims HP manufactured, marketed,                  this lawsuit if any are obtained, but you will keep your
                                                                 right to separately sue HP over the legal issues in this     What are my other options? If you don’t want to be legally bound by the Settlement, you must exclude yourself by
advertised and sold printers that were advertised to have                                                                     June 5, 2017, or you won’t be able to sue Sony about the legal claims in the Action ever again. If you exclude yourself,
“HP Smart Install,” a feature designed to allow for the          case. To ask to be excluded from the Class, send a letter    you cannot receive a Settlement Payment from this Settlement. If you stay in the Settlement, you may object to it by
easy software installation of the printers, when in fact this    to the address below postmarked by April 24, 2017            June 5, 2017. The detailed notice available at www.VAIOTrackpadLitigationSettlement.com explains how to request
feature has been disabled from these printers. HP denies         stating you want to be excluded from Anne Wolf v.            exclusion or object. The Court will hold a hearing on August 7, 2017 at 10:30 a.m. to consider whether to approve the
all of the claims in the lawsuit. The Court has not ruled        Hewlett-Packard Company, Case No. 5:15-cv-01221-             Settlement, the request by the lawyers representing all Class Members (Gomez Trial Attorneys, Zeldes Haeggquist
on the merits of the claims. Lawyers for the Class will          BRO-GJS. Include your name, address, telephone               & Eck, LLP, and Doyle Lowther LLP) for $3.2 million in attorneys’ fees and costs, and the request by the class
have to prove their claims at a trial scheduled to begin         number, and signature.                                       representatives (Christina Egner and Rickey Glasco) for $10,000 for plaintiff Christina Egner and $7,500 for plaintiff
at 8:30 a.m. on November 21, 2017. The lawsuit seeks                   HOW DO I GET MORE INFORMATION?                         Rickey Glasco for a total of $17,500 for their services. You may ask to appear at the hearing, but you don’t have to.
money for Class members to: (a) reimburse them for                 For a detailed notice and other documents                  You may also hire your own attorney to represent you.
out-of-pocket expenses resulting from the advertising;           about this lawsuit and your rights, go to                    More information? For complete information about the Settlement, to view the Settlement Agreement, related Court
and (b) compensate them for the difference in value              www.wolfsmartinstallclassaction.com, call 1-888-             documents and Claim Form, and to learn more about how to exercise your various options under the Settlement,
between what was promised and what was delivered.                270-3325, write to HP Class Action Administrator, P.O.       visit www.VAIOTrackpadLitigationSettlement.com. You may also write to the Claims Administrator at info@
The lawsuit also asks for attorneys’ fees and costs and          Box 43434, Providence, RI 02940-3434, or call Class          VAIOTrackpadLitigationSettlement.com or In Re Sony VAIO Computer Notebook Trackpad Claims Administrator,
a Court order requiring HP to inform consumers of the            Counsel at 1-877-206-4741.                                   PO Box 43343, Providence, RI 02940-3343 or by toll-free telephone at 1-877-790-2114.

   Other Rentals         Sports Utility Vehicle                                                                                          NOTICE OF PUBLIC HEARING
                                                                                                                                       PROPOSED FEE INCREASE FOR


                                                                                                                                                                                                 -Ì>ÀÌ} >
                            Chevrolet’06                                                                                             THE JUNIOR LIFEGUARD PROGRAM
 Rooms for Rent                 HHR LT

                                                                SERVE SUMMONS BY PUBLICATION
                                                                                                                             Notice is hereby given that a public hearing will be
                              (6S573696)                                                                                     held by the Board of Supervisors (Board) regarding
                                $6,990                                                                                       the proposed fee increase for the Los Angeles

                                                                                                                                                                                               iÜ LÕÃiÃÃ¶
  FAIR HOUSING              (888)556-8214

                                                                   in the Los Angeles Daily News
                                                                                                                             County Fire Department Junior Lifeguard Program.
     NOTICE
                                                                                                                             The Junior Lifeguard Program is a 5 week Summer
   All roommates                                                                                                             Program that takes place in 12 beach locations
   and real estate                                                                                                           throughout Los Angeles County and teaches beach
advertised herein                                                                                                            safety and physical fitness to boys and girls from 9
                                                                                                                                                                                          *ÕLÃ 9ÕÀ VÌÌÕÃ ÕÃiÃÃ >i
  is subject to the         Chevrolet’15
     Federal Fair
     Housing Act,
                             Equinox LT
                              (F6381594)
                                                                 Quality Service & Competitive Prices                        to 17 years of age. The Program teaches in-ocean
                                                                                                                             lifesaving techniques, cardiopulmonary resuscita-
    which makes
      it illegal to
                                $17,487
                            (888)556-8214                             Affidavits Promptly Mailed                             tion, first aid skills, environmental concerns, ocean
                                                                                                                             safety, and ocean and beach sports. In order to
                                                                                                                                                                                          ­ ®  Ì i Ã }iiÃ >Þ iÜÃ°
    advertise any
      preference,
     limitation or                                              Los Angeles City & County Adjudication                       maintain self-sustainability of the Junior Lifeguard
   discrimination
   based on race,
                                                                                                                             Program, the Department is proposing a fee in-
                                                                                                                             crease from $476 to $535 effective immediately.               ✔ ,i>Li] Ài`Þ ÕÃÌiÀ -iÀÛVi
    color, religion,                                                                                                         Said hearing will be held on March 28, 2017, at 1:00
   sex, disability,
                              Dodge’14
                                                                                                                                                                                           ✔ *À«Ì /ÕÀ>ÀÕ` /i
                                                                        Contact Eve: 818.713.3359
                            Durango R/T                                                                                      p.m., in the Hearing Room of the Board of Supervi-
 familial status or                                                                                                          sors, Room 381B, Kenneth Hahn Hall of Administra-
national origin or           (EC531224)
intention to make              $33,498                                                                                       tion, 500 West Temple Street (corner of Temple                ✔ `Õ`V>Ìi` vÀ Ã }iiÃ ÕÌÞ
                                                                         legals@dailynews.com
        any such            (888)556-8214                                                                                    Street and Grand Avenue), Los Angeles, California
     preferences,




                                                                                                                                                                                          $99
                                                                                                                             90012. Written comments may be sent to the Exec-
     limitation or
   discrimination.                                                                                                           utive Office of the Board of Supervisors at the above
   The Daily News
will not knowingly
                                                                                                                             address. If you do not understand this notice or
                                                                                                                             need more information, please call Chief Steve
                                                                                                                                                                                                                *
      accept any               GMC’14
   advertising for                                                                                                           Moseley at (310) 577-5700. LORI GLASGOW
                              Sierra SLT
   roommates or              (EG405583)                   Trucks                Autos For Sale          Autos For Sale       EXECUTIVE OFFICER OF THE BOARD OF SU-
 real estate which                                                                                                           PERVISORS
  is in violation of            $35,454
       the law. If          (888)556-8214                Ford’14             Buick ’15 Lacrosse       Cadillac ’14 SRX                  CN935461 03122 Mar 14,20, 2017
                                                        F150 FX4
    you have any                                        EKF61723                   Leather            Certified, Luxury                                                                 I ÃÌ V> Li ÕÃi` >Ã VÀi`Ì
     questions or                                        $37,476               (250842) $21,942       (519211) $29,911           Autos For Sale             Autos For Sale
  believe that you                                    (888)556-8214             1-877-800-5069         1-877-800-5069                                                                    ÌÜ>À`Ã iÜ >`ÛiÀÌÃ}°
      have been
    discriminated
                                GMC’14
                                                                             Crestview Cadillac     Crestview Cadillac         Cadillac ’16 XTS               CHEVROLET                  -i ÀiÃÌÀVÌÃ >««Þ°
against, you may
                                                                             Text Code Ad19341       Text Code Ad19386           Luxury,Navi,                 2016 IMPALA
         call the           Terrain SLT                                                                                                                         $18,995
   Department of                                                              To 56654 for Info       To 56654 for Info         Certified Used
                              (E6154918)                                                                                                                 (123261) Ask For Andy
 Housing & Urban                $15,454                                                                                        (166281) $34,981
   Development at           (888)556-8214                                     Cadillac ’14 ATS                                  1-877-800-5069          or Stuart (310) 378-0211
  1 (800) 347-3739                                   Autos For Sale                                   Cadillac ’15 ATS
                                                                             Sunroof, Certified        AWD,2.0 Turbo,        Crestview Cadillac
                                                                              (103564) $22,946         (124851) $23,951      Text Code Ad19333
                                                           AUDI
                                                                               1-877-800-5069           1-877-800-5069        To 56654 for Info
                                                          2012 QS
                                                          $23,995            Crestview Cadillac     Crestview Cadillac           Chevrolet’03                 CHEVROLET
                                                   (069687) Ask For Andy     Text Code Ad19359       Text Code Ad19368              Corvette
                                Trucks
Transportation                                    or Stuart (310) 378-0211    To 56654 for Info       To 56654 for Info            (35111102)                2016 TRAVERSE
                                                                                                                                     $18,454                    $26,995
                            Chevrolet’14                                                                                         (888)556-8214           (278974) Ask For Andy
                             Tahoe LTZ                                        Cadillac ’14 CTS        Cadillac ’16 CTS
                                                                              Certified, low mi                                                         or Stuart (310) 378-0211
                             (ER149529)                                                               Luxury,Sunroof,
                               $36,965                                        (129782) $23,982         Certified Used
  Buses Taxi Etc            (888)556-8214                                      1-877-800-5069         (186270) $28,923
                                                         BMW’06
                                                                             Crestview Cadillac                                  Chevrolet’14
                                                           M3
                                                       (6PK11751)            Text Code Ad19375
                                                                                                       1-877-800-5069
                                                                                                    Crestview Cadillac
                                                                                                                                 Corvette Z51                                                                              818-713-3378
                                                                                                                                                                                                                           n£n°Ç£Î°ÎÎx
                                                                                                                                   (E5111030)
                                                         $15,476              To 56654 for Info      Text Code Ad19341               $45,454
                                                                                                                                                               Chevy ’13                                            i>\ i}>ÃJ`>ÞiÜÃ°V
                            Chevrolet’16
                                                      (888)556-8214                                   To 56654 for Info          (888)556-8214             Silverado X-Cab
                                                                              Cadillac ’14 CTS                                                             (230448) $19,998
                             Colorado LT
                                                                                Coupe, 14k mi                                                                626-795-8851
                              (G1163220)
                                                                               (143990) $28,990
                                $30,987
                            (888)556-8214                                       1-877-800-5069                                                            Thorson Motor Center
                                                                             Crestview Cadillac                                  Chevrolet’15              Text code AD05611            Autos For Sale          Autos For Sale            Autos For Sale
                                                                                                                                 Corvette Z06               to 56654 for info
                                                                             Text Code Ad19382                                                                                            Dodge ’16                                    HYUNDAI
                                                                              To 56654 for Info
                                                                                                                                   (F5603641)
                                                                                                                                                              Chevy ’16                                          Hyundai ’15
                                                                                                                                     $69,921                                             Journey SXT                                        SANTA FE ’09
                                                                                                                                 (888)556-8214                Cruze LTD
                                                                                                                                                            1 at this Offer
                                                                                                                                                                                        1 at this Offer            Sonata                (P322392) $8,795
                                                                                                                                                                                       (105829) $18,950        (126934) $11,999
                                                                                                                                                           (127176) $12,950             626-966-4461                                       PUENTE HILLS
                                                                                                                                                            626-966-4461                                         626-795-8851
                                                                                                                                                                                                                                              HYUNDAI
                                                                                                                                                                                                              Thorson Motor Center          888-313-9383
                                                                                                                                 Chevrolet’16                                         Text Code AD19125        Text code AD05586
                                                                                                                                   Cruze LT               Text Code AD19108            To 56654 for info        to 56654 for info
                                                                                                                                                           To 56654 for info                                                           HYUNDAI
                                                                                                                                  (G7105327)
                                                                                                                                    $12,987                                          DODGE                       Hyundai ’17               SONATA LTD
                                                                                                                                 (888)556-8214                Chevy ’16               GRAND CARAVAN               Sonata SE            (HH036491A) $11,495
                                                                                                                                                             Traverse 2L                  SXT ’14               1 at this Offer            PUENTE HILLS
                                                                                                                                                            2 at this Offer            #258949 $12,000         (477135) $15,950
                                                                                                                                                               $23,950                  GLENDORA                626-966-4461                  HYUNDAI
                                                                                                                                                            626-966-4461
                                                                                                                                                                                        CHEVROLET                                           888-313-9383
                                                                                                                                 Chevrolet’16
                                                                                                                                   Malibu LS                                            855-300-9190
                                                                                                                                                                                                              Text Code AD19115        HYUNDAI
                                                                                                                                  (GF342190)              Text Code AD19129                                    To 56654 for info
                                                                                                                                    $16,987                                                                                             VELOSTER CPE ’12
                                                                                                                                                           To 56654 for info               Ford ’15
                                                                                                                                 (888)556-8214                                                                                           (043893) $11,900
                                                                                                                                                        CHEVY                               Focus            HYUNDAI                        TOYOTA OF
                                                                                                                                                          SONIC 2LZ ’12                (243869) $10,798       ACCENT GLS ’15                GLENDORA
                                                                                                                                                          #106690 $9,000                 626-795-8851         (882529) $12,000
                                                                                                                                                             GLENDORA                                                                      800-778-9748
                                                                                                                                   CHEVROLET                                          Thorson Motor Center       TOYOTA OF
                                                                                                                                 2007 CORVETTE               CHEVROLET                 Text code AD05503
                                                                                                                                     $20,995                 855-300-9190               to 56654 for info
                                                                                                                                                                                                                 GLENDORA              HYUNDAI
                                                                                                                              (116974) Ask For Andy                                                             800-778-9748           VERACRUZ LTD ’11
                                                                                                                             or Stuart (310) 378-0211 CHEVY
                                                                                                                                                                                     FORD
                                                                                                                                                                                                                                        (175932) $11,900
                                                                                                                                                           VOLT ’14
                                                                                                                                                        #125498 $12,000
                                                                                                                                                                                       ESCAPE XLT ’11        HYUNDAI                        TOYOTA OF
                                                                                                                                                                                       #B66813 $8,225           ACCENT SE ’16
                                                                                                                                                             GLENDORA                   GLENDORA                                            GLENDORA
                                                                                                                                                                                                              (P237828R) $9,995
                                                                                                                                                             CHEVROLET                  CHEVROLET                                          800-778-9748
                                                                                                                                                                                                                PUENTE HILLS
                                                                                                                                   CHEVROLET                 855-300-9190               855-300-9190               HYUNDAI
                                                                                                                                 2013 1500 PICKUP
                                                                                                                                                                                                                 888-313-9383                 Jeep ’15
                                                                                                                                     $22,995                 Chrysler’13
                                                                                                                              (192320) Ask For Andy             300S                 FORD                                                      Patriot
                                                                                                                                                             (DH658043)                 FIESTA SE ’15                                    (156607) $13,998
                                                                                                                             or Stuart (310) 378-0211                                  #196400 $9,000        HYUNDAI
                                                                                                                                                               $18,987                                                                     626-795-8851
                                                                                                                                                            (888)556-8214               GLENDORA               ELANTRA GLS ’10
                                                                                                                                                                                        CHEVROLET            (HU386277A) $8,495          Thorson Motor Center
                                                                                                                                                                                                                PUENTE HILLS              Text code AD05591
                                                                                                                                                                                        855-300-9190                                       to 56654 for info
                                                                                                                                                                                                                   HYUNDAI
                                                                                                                                   CHEVROLET
                                                                                                                                                                                                                 888-313-9383                 Jeep ’16
                                                                                                                                    2013 SONIC                                       HONDA
                                                                                                                                      $8,888            CHRYSLER                     ACCORD CPE EX-L ’10                                   Patriot Sport
                                                                                                                                                                                                                                           3 at this Offer
                                                                                                                              (109732) Ask For Andy         200 LTD ’15                 (HG482609AA)         HYUNDAI                           $12,950
                                                                                                                             or Stuart (310) 378-0211    (650504) $12,700                  $10,995                                         626-966-4461
                                                                                                                                                                                                              ELANTRA GLS ’16
                                                                                                                                                             TOYOTA OF                  PUENTE HILLS           (328070) $9,000
                                                                                                                                                                                           HYUNDAI
                                                                                                                                                             GLENDORA                                            TOYOTA OF
                                                                                                                                                                                         888-313-9383                                    Text Code AD19102
                                                                                                                                                             800-778-9748                                        GLENDORA                 To 56654 for info
                                                                                                                                   CHEVROLET                                                                    800-778-9748
                                                                                                                                 2016 CORVETTE               Dodge’15                    Hyundai’08
                                                                                                                                                                                        Santa Fe GLS                                      Kia ’15 Sorento
                                                                                                                                     $69,996              Charger SRT392                                                                  V-6 SX Limited
                                                                                                                                                              (770223)                   (8H175582)          HYUNDAI
                                                                                                                              (602528) Ask For Andy                                                                                      (573604) $26,974
                                                                                                                                                               $38,987                      $7,990             ELANTRA SE ’15
                                                                                                                             or Stuart (310) 378-0211                                   (888)556-8214                                     1-877-800-5069
                                                                                                                                                           (888)556-8214                                       #360770 $11,163
                                                                                                                                                                                                                GLENDORA               Crestview Cadillac
                                                                                                                                                                                                                CHEVROLET               Text Code Ad19379
                                                                                                                                                                                                                855-300-9190             To 56654 for Info

                                                                                                                                   CHEVROLET
                                                                                                                                                          Dodge ’16 Grand                                                                      Kia ’17
                                                                                                                                   2016 CRUZE               Caravan SXT
                                                                                                                                                                                         Hyundai ’15         HYUNDAI                         Sportage
                                                                                                                                     $14,888                1 at this Offer              Accent GLS            ELANTRA SE ’16
                                                                                                                                                                                                                                           1 at this Offer
                                                                                                                                                                                                                                          (112676) $18,950
                                                                                                                              (221677) Ask For Andy        (257741) $15,950            (817774) $9,998
                                                                                                                             or Stuart (310) 378-0211       626-966-4461                                      (673975) $11,900             626-966-4461
                                                                                                                                                                                        626-795-8851
                                                                                                                                                                                                                 TOYOTA OF
                                                                                                                                                                                      Thorson Motor Center
                                                                                                                                                          Text Code AD19123            Text code AD05579         GLENDORA                Text Code AD19123
                                                                                                                                                           To 56654 for info            to 56654 for info       800-778-9748              To 56654 for info
MONDAY, MARCH 27, 2017              Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15993                                 Page 17 of| CLASSIFIEDS  A | 13
                                                                                                                LOS ANGELES DAILY NEWS >> DAILYNEWS.COM
   Other Rentals                Trucks      Autos For Sale Autos For Sale Autos For Sale 34 Legal Notice Legal Notice         Legal Notice         Legal Notice Legal Notice
                               Ford’03                  Chevrolet’16                 Ford ’14              HYUNDAI ’11
  Rooms for Rent                 F250
                              (ED62336)
                                $9,989
                                                         Malibu 1LT
                                                          Certified
                                                          (248067)
                                                                                    F150 FX2
                                                                                 (A30447) $29,888
                                                                                                          SONATA SE LTD
                                                                                                                 (233569)
                                                                                                                                 If you are a California or New Jersey resident and purchased a
   FAIR HOUSING             Ladin Subaru
                           Thousand Oaks
                                                           $19,900
                                                        844-234-7077
                                                                               Ford of Montebello                 $11,000        Sony VAIO Laptop series SZ, FZ, NW, EB, or F between March
      NOTICE                                                                      1-800-651-2986        GLENDORA HYUNDAI
   All roommates
                            (800) 994-2784
                                Ford’14
                                                        Simi Valley
                                                         Buick GM              Text code Ad22962
                                                                                to 56654 for info
                                                                                                              (909) 394-3500      16, 2006 and January 4, 2017 in California or New Jersey, you
   and real estate
advertised herein
  is subject to the
                               F150 FX4
                               EKF61723
                                $36,965
                                                         CHEVROLET
                                                        2007 CORVETTE                Ford ’14
                                                                                                              HYUNDAI ’12
                                                                                                              SONATA GLS
                                                                                                                                       may be eligible to receive a cash payment from Sony.
                             (888)556-8214                  $20,995
     Federal Fair                                                                   Fusion SE             (394881) $9,902               Si usted más información o desea obtener una copia de este documento legal en Español, visite el sitio
     Housing Act,                                    (116974) Ask For Andy
                                                                                 (329701) $13,488
    which makes                                     or Stuart (310) 378-0211                            GLENDORA HYUNDAI                                           www.VAIOTrackpadLitigationSettlement.com.
      it illegal to
    advertise any
                                                                               Ford of Montebello             (909) 394-3500
      preference,                                                                 1-800-651-2986                                 A settlement (“Settlement”) has been proposed in a class action lawsuit pending in the U.S. District Court for the
     limitation or
                            Autos For Sale
                                                                               Text code Ad22954            Hyundai’12           Southern District of California (“Court”) titled In Re Sony VAIO Computer Notebook Trackpad Litigation, Case
   discrimination                                                               to 56654 for info       Sonata Hybrid Base
   based on race,                                                                                             (047553)           No. 09-cv-2109 (“Action”). The purpose of this notice is to inform potential Class Members of the Action and the
                                                         CHEVROLET
    color, religion,              AUDI                                               Ford ’15                 $11,989            Settlement so that they may decide what steps to take in relation to it.
   sex, disability,                                    2013 1500 PICKUP                                    Ladin Subaru
                                 2012 QS                                            Escape SE
 familial status or
                                 $23,995
                                                            $22,995                                       Thousand Oaks          What is the Action about? The Action was ﬁled against Sony Electronics Inc. (“Sony”) by plaintiffs Christina
national origin or                                                               (A54461) $16,888          (800) 994-2784
intention to make         (069687) Ask For Andy
                                                     (192320) Ask For Andy                                                       Egner and Rickey Glasco alleging Sony sold certain series of VAIO Laptops with a defectively designed touchpad
        any such         or Stuart (310) 378-0211
                                                    or Stuart (310) 378-0211   Ford of Montebello             HYUNDAI ’12        (also known as trackpad) component. Sony denies wrongdoing and liability and both sides disagree on how much, if
     preferences,
     limitation or                                                                1-800-651-2986               VELOSTER          anything, the Class could have recovered after trial. No court has decided which side is right. But both sides agreed
   discrimination.                                                             Text code Ad22952          (067953) $10,000       to provide beneﬁts to California and New Jersey purchasers of certain VAIO laptops and to resolve the case in order
   The Daily News                                                               to 56654 for info
will not knowingly                                                                                      GLENDORA HYUNDAI         to limit further expense, inconvenience, and uncertainty.
      accept any                                         CHEVROLET                  Ford’15                   (909) 394-3500
   advertising for              BMW’06
                                                          2013 SONIC               Fiesta 4dr                                    Am I a Class Member? You are a “Class Member” if you are: (1) a California resident who purchased a Sony VAIO
                                  M3                                                (162039)
   roommates or
 real estate which            (6PK11751)                     $8,888                  $8,900
                                                                                                            Hyundai’13           Laptop, series SZ, FZ, NW, EB, or F, in California between March 16, 2006 and January 4, 2017; or (2) a New Jersey
                                                                                                           Sonata Hybrid
  is in violation of            $14,965              (109732) Ask For Andy        844-234-7077                (076763)           resident who purchased a Sony VAIO Laptop, series SZ, FZ, NW, EB, or F, in New Jersey between March 16, 2006
       the law. If           (888)556-8214          or Stuart (310) 378-0211      Simi Valley                 $13,429            and January 4, 2017.
    you have any                                                                   Buick GM                Ladin Subaru
     questions or                                                                                         Thousand Oaks          What relief does the Settlement provide? If you are a Class Member, you are eligible to receive a Settlement
  believe that you                                                                   Ford ’16              (800) 994-2784
      have been
                                                                                     Focus SE
                                                                                                                                 Payment of a one-time cash payment of: (a) 65% of documented out-of-pocket expenses incurred to repair a
    discriminated                                                                                           Hyundai’13           touchpad up to a cap of $200; (b) 65% of documented out-of-pocket expenses incurred to purchase a peripheral
against, you may         Buick ’15 Lacrosse                                      (254027) $16,888         Sonata Limited
                                                         CHEVROLET
         call the              Leather                                         Ford of Montebello             (609703)           workaround because of purported touchpad issues up to a cap of $60; (c) $25 for any Class Member who claims to
   Department of                                        2016 CORVETTE                                         $13,929            have experienced touchpad issues, but does not have proof of repair or purchase of a peripheral workaround; or (d)
                           (250842) $21,542
 Housing & Urban                                            $69,996               1-800-651-2986           Ladin Subaru
   Development at           1-877-800-5069           (602528) Ask For Andy     Text code Ad22956          Thousand Oaks          $5 for a Class Member who does not meet criteria for the preceding (a) through (c). To receive a Settlement Payment,
  1 (800) 347-3739       Crestview Cadillac         or Stuart (310) 378-0211    to 56654 for info          (800) 994-2784        you must timely complete and submit a valid Claim Form, which explains the eligibility and any documentation
                         Text Code Ad19341                                                                  Hyundai’13           requirements for the different payment categories. A Claim Form is available on the Internet at the Settlement Website
                          To 56654 for Info                                          Ford ’16              Sunata Hybrid         www.VAIOTrackpadLitigationSettlement.com. The deadline to submit a Claim Form is June 5, 2017.
                                                                                 Fusion Titanium              (098707)

Transportation
                               Buick ’16                                                                      $14,939
                                Regal                                            (164488) $17,588
                                                                                                           Ladin Subaru
                                                                                                                                 What are my other options? If you don’t want to be legally bound by the Settlement, you must exclude yourself by
                            1 at this Offer
                           (150572) $16,950
                                                         CHEVROLET             Ford of Montebello         Thousand Oaks          June 5, 2017, or you won’t be able to sue Sony about the legal claims in the Action ever again. If you exclude yourself,
                            626-966-4461
                                                          2016 CRUZE              1-800-651-2986
                                                                                                           (800) 994-2784        you cannot receive a Settlement Payment from this Settlement. If you stay in the Settlement, you may object to it by
                                                            $14,888
                                                     (221677) Ask For Andy
                                                                               Text code Ad22957         Hyundai ’15 Accen       June 5, 2017. The detailed notice available at www.VAIOTrackpadLitigationSettlement.com explains how to request
   Buses Taxi Etc                                   or Stuart (310) 378-0211
                                                                                to 56654 for info
                                                                                                               Prior Rental      exclusion or object. The Court will hold a hearing on August 7, 2017 at 10:30 a.m. to consider whether to approve the
                           Text Code AD19108                                   FORD                       (817774) $9,998        Settlement, the request by the lawyers representing all Class Members (Gomez Trial Attorneys, Zeldes Haeggquist
                            To 56654 for info                                    ESCAPE XLT ’11
                                                                                 #B66813 $8,225
                                                                                                           626-795-8851          & Eck, LLP, and Doyle Lowther LLP) for $3.2 million in attorneys’ fees and costs, and the request by the class
                            Buick ’17 Regal                                        GLENDORA              Thorson Motor Center    representatives (Christina Egner and Rickey Glasco) for $10,000 for plaintiff Christina Egner and $7,500 for plaintiff
                         Certified, Prior Rental         CHEVROLET                 CHEVROLET              Text code AD22269      Rickey Glasco for a total of $17,500 for their services. You may ask to appear at the hearing, but you don’t have to.
                           (104778) $21,998
                                                         2016 IMPALA               855-300-9190
                                                                                                           to 56654 for info     You may also hire your own attorney to represent you.
                             626-795-8851                                                                   Hyundai’15
                                                            $18,995
                                                                             FORD                                                More information? For complete information about the Settlement, to view the Settlement Agreement, related Court
                          Thorson Motor Center       (123261) Ask For Andy      FIESTA SE ’15
                                                                                                            Accent GLS
                                                                                                                                 documents and Claim Form, and to learn more about how to exercise your various options under the Settlement,
                                                                                                              (817982)
                            Text code AD22258       or Stuart (310) 378-0211   #196400 $9,000                 $11,529
                             to 56654 for info                                     GLENDORA                Ladin Subaru
                                                                                                                                 visit www.VAIOTrackpadLitigationSettlement.com. You may also write to the Claims Administrator at info@
                                                                                   CHEVROLET              Thousand Oaks          VAIOTrackpadLitigationSettlement.com or In Re Sony VAIO Computer Notebook Trackpad Claims Administrator,
                             Cadillac ’14                                                                  (800) 994-2784        PO Box 43343, Providence, RI 02940-3343 or by toll-free telephone at 1-877-790-2114.
                                ATS                                                855-300-9190
Sports Utility Vehicle                                                                                         Hyundai’16
                           (107855) $22,995              CHEVROLET
                                                                                 GMC ’15 Encore                 Veloster                    (DAILY NEWS)
                            1-877-800-5069                                                                       (259898)
     Buick’13                                           2016 TRAVERSE
                                                                               21,409Mi, Prior Rental             $14,000                PUBLIC NOTICE
LaCrosse FWD Base        Crestview Cadillac                 $26,995
                                                                                 (042025) $17,998             844-234-7077      Dr. Martin Bennett at 15450 Ventura
     Certified

                                                                                                                                                                                                    SERVE SUMMONS BY PUBLICATION
                         Text Code Ad19368           (278974) Ask For Andy
      (148160)
                          To 56654 for Info         or Stuart (310) 378-0211       626-795-8851
                                                                                                              Simi Valley
                                                                                                                Buick GM
                                                                                                                                Blvd. Suite 102, Sherman Oaks, CA
       $17,900                                                                                                                  91403 (818-784-1035) has retired. Dr.
   844-234-7077                                                                 Thorson Motor Center
   Simi Valley             Cadillac ’14 ATS                                                                 Hyundai ’17         Ed Betz at 4555 Sherman Oaks
                                                                                                                                                                                                       in the Los Angeles Daily News
                                                                                 Text code AD22253           Sonata SE
     Buick GM             Sunroof, Certified                                      to 56654 for info        3 at this Offer      Avenue, Sherman Oaks, CA 91403
     Buick’16              (103546) $22,946                                                                    $15,950          (818-981-5800) has taken over his
                                                                               GMC ’15 Terrain SLE2        626-966-4461
 Encore FWD 4dr             1-877-800-5069          CHEVROLET                                                                   practice and is the custodian of
     Certified           Crestview Cadillac          CAPTIVA SPORT
     (330203)                                             LTZ ’13
                                                                               50,062Mi, Prior Rental                           medical       records.         Thank        You.
      $19,999
  844-234-7077
                         Text Code Ad19359
                          To 56654 for Info
                                                      #557983 $11,734
                                                        GLENDORA
                                                                                 (113243) $17,798
                                                                                   626-795-8851
                                                                                                         Text Code AD19115
                                                                                                          To 56654 for info
                                                                                                                                Sincerely, Dr. Martin Bennett.
                                                                                                                                     Publish March 27, 29, 31, 2017
                                                                                                                                                                                                    Quality Service & Competitive Prices
   Simi Valley
    Buick GM               Cadillac ’14 CTS
                          Certified, low mi
                                                        CHEVROLET
                                                        855-300-9190
                                                                                Thorson Motor Center
                                                                                 Text code AD22248
                                                                                                        HYUNDAI                              (DAILY NEWS)                                                Affidavits Promptly Mailed
   Chevrolet’06                                                                                          ACCENT GLS ’14              NOTICE OF CLASS ACTION
       HHR LT
     (6S573696)
                          (129782) $23,482
                           1-877-800-5069
                                                    CHEVROLET
                                                                                  to 56654 for info
                                                                                    Honda’05
                                                                                                          #724150 $10,270
                                                                                                              GLENDORA                       SETTLEMENT                                            Los Angeles City & County Adjudication
       $6,990
                                                      SONIC 2LZ ’12                                                             If you were ever directly employed or
   (888)556-8214
                         Crestview Cadillac           #106690 $9,000                 Civic LX
                                                                                     (502651)
                                                                                                              CHEVROLET
                                                                                                                                through a staffing agency at Denim-
                         Text Code Ad19375              GLENDORA                                              855-300-9190
                                                                                                                                Tech, LLC from December 2, 2009 to
                                                                                                                                                                                                                                      Contact Eve: 818.713.3359
                                                                                      $5,989
                          To 56654 for Info             CHEVROLET                 Ladin Subaru
                                                        855-300-9190             Thousand Oaks          HYUNDAI                 January 1, 2016, you may be entitled to
                           Cadillac ’14 CTS                                       (800) 994-2784         ACCENT GLS ’15         receive money from a class action
   Chevrolet’15
    Equinox LT
                            Coupe, 14k mi
                           (143990) $27,990
                            1-877-800-5069
                                                      Chevy ’14 Impala
                                                    Certified, Prior Rental
                                                                                    Honda’07
                                                                                     Fit Sport
                                                                                     (009870)
                                                                                                         (882529) $12,000
                                                                                                              TOYOTA OF
                                                                                                                                settlement. Please contact Simpluris,
                                                                                                                                Inc. at 1-888-406-4980 to verify your                                                                  legals@dailynews.com
     (F6381594)                                       (125815) $15,998                                                          employment        and       receive       further
       $17,487           Crestview Cadillac                                           $6,559
                                                                                  Ladin Subaru
                                                                                                              GLENDORA          information.
   (888)556-8214                                        626-795-8851
                         Text Code Ad19382                                       Thousand Oaks                800-778-9748           Publish March 27, 28, 29, 30, 31,
                          To 56654 for Info          Thorson Motor Center         (800) 994-2784
                                                       Text code AD22240                                HYUNDAI                       April 1, 2, 3, 4, 5, 6, 7, 8, 9, 2017
                           Cadillac ’14 SRX             to 56654 for info           Honda’08              ACCENT SE ’16

                                                                                                                                                                                                       -Ì>ÀÌ} >
                                                                                 Accord 2.4 EX-L
                                                                                                          (237828) $10,995
                                                                                                                                      LOS ANGELES COUNTY
                         Navigation, Luxury
  Chevrolet’14            (629966) $28,966                Chevy ’14                  (076852)
                                                                                      $9,549                  PUENTE HILLS
                                                                                                                                          METROPOLITAN
 Equinox FWD LS            1-877-800-5069                 Malibu LS               Ladin Subaru                   HYUNDAI
                                                                                                                                        TRANSPORTATION
     Certified                                                                   Thousand Oaks                                          AUTHORITY (Metro)

                                                                                                                                                                                                     iÜ LÕÃiÃÃ¶
                                                      (190833) $14,933
    (6161516)            Crestview Cadillac            1-877-800-5069             (800) 994-2784               888-313-9383
      $21,500            Text Code Ad19386
  844-234-7077            To 56654 for Info         Crestview Cadillac              Honda’08            HYUNDAI                     REQUEST FOR PROPOSAL
   Simi Valley                                                                       Civic LX
    Buick GM                                        Text Code Ad19379                                     ELANTRA SE ’16
                                                                                     (323038)
                           Cadillac ’16 ATS          To 56654 for Info                $5,929                                    Metro will receive bids forPS37869 -
                                                                                                         (673975) $11,900
   Chevrolet’14
   Traverse LTZ
     EJ191695
                           Luxury,Sunroof,
                            Certified Used
                                                          Chevy ’16
                                                         Impala LTD
                                                                                  Ladin Subaru
                                                                                 Thousand Oaks
                                                                                  (800) 994-2784
                                                                                                              TOYOTA OF         Metro
                                                                                                                                System
                                                                                                                                            Unified        Messaging
                                                                                                                                                  Assessment       per
                                                                                                                                                                                        *ÕLÃ 9ÕÀ VÌÌÕÃ ÕÃiÃÃ >i
                           (186270) $28,923            1 at this Offer                                        GLENDORA
      $28,498
   (888)556-8214            1-877-800-5069            (108174) $13,950
                                                        626-966-4461
                                                                                    Honda’11
                                                                                 EX CR-Z Hybrid
                                                                                                              800-778-9748
                                                                                                                                specifications on file at the Office of
                                                                                                                                Procurement          &        Material
                                                                                                                                                                                        ­ ®  Ì i Ã }iiÃ >Þ iÜÃ°
                         Crestview Cadillac
                         Text Code Ad19341
                                                                                    BS003380
                                                                                      $6,990
                                                                                                        HYUNDAI                 Management, One Gateway Plaza,
                                                                                                                                Los Angeles, CA 90012 (9th Floor).
                          To 56654 for Info
                                                      Text Code AD19102
                                                       To 56654 for info
                                                                                  (888)556-8214           ELANTRA SE ’16
                                                                                                             CERTIFIED                                                                   ✔ ,i>Li] Ài`Þ ÕÃÌiÀ -iÀÛVi
   Chevrolet’16            Cadillac ’16 XTS                                                               (250423) $11,995  All Bids must be submitted on
 Trax AWD 4dr LT
     Certified
                             Luxury,Navi,
                              Low Miles
                                                         Chevy ’16
                                                        Traverse 2L
                                                                                                           PUENTE HILLS     forms furnished by Metro, and must                           ✔ *À«Ì /ÕÀ>ÀÕ` /i
     (162149)                                                                                                 HYUNDAI       be filed at the reception desk of the
      $16,900
   844-234-7077
                           (165759) $33,959
                            1-877-800-5069
                                                       2 at this Offer
                                                          $23,950
                                                       626-966-4461
                                                                                    Honda’12
                                                                                     Civic EX               888-313-9383    Office of Materiel on or before 2:00                         ✔ `Õ`V>Ìi` vÀ Ã }iiÃ ÕÌÞ
   Simi Valley           Crestview Cadillac
                                                                                     (519790)                               p.m.    Pacific   Time,    Tuesday,




                                                                                                                                                                                        $99
                                                                                     $10,729            HYUNDAI
    Buick GM
                         Text Code Ad19333                                        Ladin Subaru          GENESIS COUPE ’11 April 25, 2017, at which time bids
      Ford’12
 Escape Limited
                          To 56654 for Info           Text Code AD19129
                                                       To 56654 for info
                                                                                 Thousand Oaks
                                                                                  (800) 994-2784
                                                                                                        (HU238863A) $11,995 will be opened and publicly read.
                                                                                                           PUENTE HILLS     Bids received later than the above
                                                                                                                                                                                                                                             *
                             Chevrolet’03
     (KB91824)                  Corvette                                           Honda’14                   HYUNDAI       date and time will be rejected and
      $12,989                  (35111102)            Chevy ’16 Traverse           Civic LX CVT
                                                                                                            888-313-9383    returned to the bidder unopened.
  Ladin Subaru                   $17,943                                            (243760)
 Thousand Oaks                                      Certified, Prior Rental          $14,500                                Each bid must be sealed and
                             (888)556-8214                                                              HYUNDAI
  (800) 994-2784                                      (267205) $22,998            844-234-7077
                                                                                  Simi Valley             SONATA LTD ’11    marked   Bid No. PS37869.
     Honda’02
                                                        626-795-8851
                                                                                   Buick GM             (HH036491A) $11,495
                                                                                                                                                                                       I ÃÌ V> Li ÕÃi` >Ã VÀi`Ì
      CR-V EX                                        Thorson Motor Center                                                       You may obtain bid specifications,
      (009026)                                         Text code AD22265           Honda’15                   PUENTE HILLS                                                              ÌÜ>À`Ã iÜ >`ÛiÀÌÃ}°
                                                                                   Crosstour                     HYUNDAI        or further information, by faxing
       $6,989
   Ladin Subaru
                             Chevrolet’11
                                  Volt
                                                        to 56654 for info           (000196)                                    Victor Zepeda at or Email address                       -i ÀiÃÌÀVÌÃ >««Þ°
  Thousand Oaks                BU100719                                              $21,000                   888-313-9383
   (800) 994-2784               $11,490             CHEVY                         844-234-7077                                  zepedav@metro.net.
                             (888)556-8214            CRUZE 2LT ’15               Simi Valley           HYUNDAI                 3/27, 3/28, 3/29/17
                                                                                   Buick GM
    Hyundai’11                                       (194694) $12,900                                    VELOSTER CPE ’12       CNS-2990113#
   Santa Fe GLS
      (017157)                                           TOYOTA OF             HONDA                      (043893) $11,900      DAILY NEWS LOS ANGELES
                                                                                 ACCORD COUPE
      $13,589
                                                         GLENDORA                                             TOYOTA OF
   Ladin Subaru                                                                     EX-L ’10                                       Autos For Sale           Autos For Sale
  Thousand Oaks            Chevrolet’14
                         Camero LST w/1LS               800-778-9748           (HG48609AA) $10,995            GLENDORA
   (800) 994-2784                                                                                             800-778-9748
                             (9198262)                   Chrysler’13              PUENTE HILLS                                         Lexus’04          MINI COOPER
                              $20,900                                                                                                    LS430              S HARDTOP ’11
      Jeep’15              844-234-7077
                                                            300S                     HYUNDAI
 Patriot 4WD 4DR                                         (DH658043)                                     HYUNDAI                       (40155281)           (Y13927) $12,995
                            Simi Valley                                            888-313-9383                                         $10,990
     (338605)                Buick GM                      $18,476                                      VERACRUZ LTD ’11                                     PUENTE HILLS
      $14,750                                           (888)556-8214                                                               (888)556-8214
   844-234-7077                                                                HONDA                     (175932) $11,900                                       HYUNDAI
                            Chevrolet’14
   Simi Valley            Camero LS w/2LS                                       ACCORD EX-L ’13               TOYOTA OF                                       888-313-9383
    Buick GM                  (9148289)
                               $19,900
                                                                                (008188) $13,900              GLENDORA
     Toyota’07
    RAV4 LTD V6
                            844-234-7077
                            Simi Valley                  Dodge’15                  TOYOTA OF                  800-778-9748                                    Nissan’13
                                                                                                                                                              Altima 4dr
                                                                                                                                                                                                                                                        818-713-3378
                                                                                                                                                                                                                                                        n£n°Ç£Î°ÎÎx
                             Buick GM                 Charger SRT392               GLENDORA                                     LEXUS
      (006088)
       $9,949                                             (770223)
                                                                                   800-778-9748                Kia’10                 LS430 ’05
                                                                                                                                                               (412735)
                                                                                                                                                                $12,000                                                                          i>\ i}>ÃJ`>ÞiÜÃ°V
   Ladin Subaru              Chevrolet’14                  $38,987                                           Optima EX             (007836) $9,575           844-234-7077
  Thousand Oaks              Corvette Z51              (888)556-8214                                          (5407635)                                      Simi Valley
   (800) 994-2784              (E5111030)                                           HYUDAI ’11                  $7,989
                                                                                                                                    PUENTE HILLS              Buick GM
                                 $45,454                                           SONATA LTD              Ladin Subaru                HYUNDAI
                             (888)556-8214                                           (095187)             Thousand Oaks              888-313-9383
       Trucks                                                                         $11,496              (800) 994-2784                                      Nissan ’13             Autos For Sale
   Chevrolet’14                                        Dodge ’15 Dart          GLENDORA HYUNDAI                                                                   Juke                  Nissan ’14
    Tahoe LTZ                                            Prior Rental             (909) 394-3500         KIA ’14 RIO SX GDI          Mazda ’14 5           (224999) $11,995
                                                                                                                 (333617)                                                               Sentra SR
    (ER149529)               Chevrolet’14             (227331) $10,998                                                               Prior Rental            626-795-8851            (287065) $10,888
      $35,432                  Cruze LT                                            HYUDAI ’11                     $10,995
   (888)556-8214                                        626-795-8851                                                              (168446) $13,498         Thorson Motor Center     Ford of Montebello
                              (A6331320)
                                $11,990              Thorson Motor Center        SONATA LTD GDI         GLENDORA HYUNDAI            626-795-8851            Text code AD22281
                                                       Text code AD22272             (849317)                 (909) 394-3500     Thorson Motor Center        to 56654 for info        1-800-651-2986
                             (888)556-8214
                                                        to 56654 for info             $11,773                                                                                       Text code Ad22947
                                                                                                                                   Text code AD22274
                                                                                                                                                                                     to 56654 for info
                                                      Dodge ’16 Grand          GLENDORA HYUNDAI                  KIA ’16
                                                                                                                                    to 56654 for info         Nissan’13
   Chevrolet’15                                                                                                                                           Rogue FWD 4dr SV
Silverado 2500 HD
                                                        Caravan SXT               (909) 394-3500                 RIO LX                                        (530498)
                                                        1 at this Offer
     FF639054                Chevrolet’15              (179964) $15,950                                          (685850)            Mazda’14                   $13,750                 Nissan ’15
      $53,990                Corvette Z06
                                                                                   HYUDAI ’15                     $11,400               CX-5                844-234-7077              Versa Note SV
                                                        626-966-4461
   (888)556-8214                                                                  SONATA SPRT                                         (0357854)              Simi Valley
                               (F5603641)
                                                                                                        GLENDORA HYUNDAI                                      Buick GM
                                                                                                                                                                                      (421825) $9,888

                                                                                                                                                                                                                                           Online real estate
                                 $69,421                                             (132536)                                          $19,500
                             (888)556-8214                                            $12,690                 (909) 394-3500        844-234-7077
                                                                                                                                    Simi Valley
                                                                                                                                                                                    Ford of Montebello
                                                      Text Code AD19123                                                                                                               1-800-651-2986
                                                       To 56654 for info       GLENDORA HYUNDAI                                      Buick GM                  Nissan ’13
   Chevrolet’16
    Colorado LT
                                                         Dodge ’16
                                                        Journey SXT
                                                                                  (909) 394-3500               Kia ’17
                                                                                                             Sportage
                                                                                                           1 at this Offer      MAZDA
                                                                                                                                                                Sentra S
                                                                                                                                                            (563718) $9,888
                                                                                                                                                                                    Text code Ad22951
                                                                                                                                                                                     to 56654 for info                                       advertising
                                                                                   Hyundai’08
                                                                                                                                                         Ford of Montebello
                                                                                                                                                                                                                                            made simple.
     (G1163220)              Chevrolet’15              1 at this Offer                                    (112676) $18,950            MAZDA 6
       $30,476              Sonic Sdn LTZ             (105829) $18,950            Santa Fe GLS
                                                                                                           626-966-4461           (M29727) $5,995                                       Nissan ’15
   (888)556-8214               (210197)                626-966-4461                (8H175582)                                                               1-800-651-2986
                                $12,250                                               $7,990                                        PUENTE HILLS         Text code Ad22953           Versa Sedan SL
                             844-234-7077                                         (888)556-8214                                        HYUNDAI            to 56654 for info          (933887) $12,782
                             Simi Valley                                                                 Text Code AD19123
                              Buick GM                Text Code AD19125                                   To 56654 for info
                                                                                                                                     888-313-9383                                   Ford of Montebello
                                                       To 56654 for info
                                                                                                                                                              Nissan ’14              1-800-651-2986

       DailyNews.Com/Classifieds                                                                                                                                                                                                                 Find out more at
                                                    DODGE                                               KIA                     MAZDA                         Sentra SR             Text code Ad22949
                                                     GRAND CARAVAN                 HYUNDAI ’11                  SOUL ’13              MAZDA 6              (287065) $10,888          to 56654 for info
                                                         SXT ’14
                                                                                   SONATA GLS                                                            Ford of Montebello
                                                                                                                                                                                                                                              Leadhax.com
                                                      #258949 $12,000                                     (542315) $9,995         (M29727) $5,995
        Find An Ad - Place An Ad                        GLENDORA                 (241569) $10,000             PUENTE HILLS          PUENTE HILLS            1-800-651-2986
                                                                               GLENDORA HYUNDAI                                                                                         Something to SELL?
 Email: ClassifiedAds@DailyNews.com                     CHEVROLET                                                HYUNDAI               HYUNDAI           Text code Ad01087                We’re waiting for your call! 888.883.7355

                                                        855-300-9190              (909) 394-3500               888-313-9383          888-313-9383         to 56654 for info                                Classiﬁeds
Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.15994 Page 18 of
                                      34




                            EXHIBIT E
In re Sony VAIO Trackpad Litigation Settlement : 300x250
Site : Usatoday.com Case 3:09-cv-02109-BAS-MDD             Document 375-5 Filed 07/10/17 PageID.15995 Page 19 of
                                                                      34
In re Sony VAIO Trackpad Litigation Settlement : 300x600
Site : Oprah.com     Case 3:09-cv-02109-BAS-MDD            Document 375-5 Filed 07/10/17 PageID.15996 Page 20 of
                                                                      34
In re Sony VAIO Trackpad Litigation Settlement : 728x90
Site : Mediaite.com  Case 3:09-cv-02109-BAS-MDD           Document 375-5 Filed 07/10/17 PageID.15997 Page 21 of
                                                                     34
In re Sony VAIO Trackpad Litigation Settlement: 300x250
                     Case 3:09-cv-02109-BAS-MDD
Site : Peopleenespanol.com                                Document 375-5 Filed 07/10/17 PageID.15998 Page 22 of
                                                                     34
In re Sony VAIO Trackpad Litigation Settlement : 300x600
Site : Univision.com Case 3:09-cv-02109-BAS-MDD            Document 375-5 Filed 07/10/17 PageID.15999 Page 23 of
                                                                      34
In re Sony VAIO Trackpad Litigation Settlement : 728x90
Site : Eluniversal.com Case 3:09-cv-02109-BAS-MDD         Document 375-5 Filed 07/10/17 PageID.16000 Page 24 of
                                                                     34
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                            EXHIBIT F
Case 3:09-cv-02109-BAS-MDD Document 375-5 Filed 07/10/17 PageID.16002 Page 26 of
                                      34


KCC Class Action Services
Sony VAIO Computer Notebook Trackpad Litigation - Settlement
Exclusion Report

       Count
         2


       Last1           First1
 Lee               Hyun Joo
 Leyrer            Scott
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                            EXHIBIT G
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